Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 1 of 120 PageID# 2079




                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


   NAVIENT SOLUTIONS, LLC
   2001 Edmund Halley Drive
   Reston, VA 20191

                        Plaintiff,

         v.                                   CIVIL ACTION No. 1:19-cv-00461

   THE LAW OFFICES OF JEFFREY                 JURY TRIAL DEMANDED
   LOHMAN, A PROFESSIONAL
   CORPORATION
   4740 Green River Road, Suite 206
   Corona, CA 92880

   JEFFREY LOHMAN,
   c/o The Law Offices of Jeffrey Lohman, a
   Professional Corporation
   4740 Green River Road, Suite 206
   Corona, CA 92880

   JEREMY BRANCH,
   c/o The Law Offices of Jeffrey Lohman, a
   Professional Corporation
   4740 Green River Road, Suite 206
   Corona, CA 92880

   ALYSON DYKES,
   c/o The Law Offices of Jeffrey Lohman, a
   Professional Corporation
   4740 Green River Road, Suite 206
   Corona, CA 92880

   IBRAHIM MUHTASEB,
   647 S. Glassell Street
   Orange, CA 92866-3018

   DAVID MIZE LAW, PLLC
   2415 East Camelback Road, Suite 700
   Phoenix, AZ 85016
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 2 of 120 PageID# 2080




   DAVID MIZE,
   c/o DAVID MIZE LAW, PLLC
   2415 East Camelback Road, Suite 700
   Phoenix, AZ 85016

   SCOTT FREDA
   6302 Creekwood Court
   Sachse, TX 75048

   CHAMPION MARKETING
   SOLUTIONS, LLC d/b/a CMS
   860 F Avenue, Suite 104
   Plano, TX 75074

   GREGORY TRIMARCHE
   535 Anton Blvd Ste 1000
   Costa Mesa, CA 92626

   RICK GRAFF
   8551 Boat Club Road # 121
   Fort Worth, TX 76179

   HERBERT “BUDDY” SIEVERS
   Unknown Address in California

   GST FACTORING, INC.
   c/o Registered Agent Incorp Services, Inc.,
   1201 Orange Street, Ste 600
   Wilmington DE 19899

   RJ MARSHAL
   Unknown Address in California

   MANNY KASHTO
   504 Torito Lane
   Diamond Bar, CA 91765

   BILL CARLSON
   Unknown Address in California

   DAVID SKLAR
   Unknown Address in California




                                                 2
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 3 of 120 PageID# 2081




   WES SABRI
   2030 Main Street, Ste 1300
   Irvine, CA 92614

                           Defendants.


                                SECOND AMENDED COMPLAINT

          1.       Plaintiff Navient Solutions, LLC, (“NSL”) brings this action against The Law

  Offices of Jeffrey Lohman, a Professional Corporation, Jeffrey Lohman, Jeremy Branch, Alyson

  Dykes, Ibrahim Muhtaseb, David Mize Law, PLLC, David Mize, Champion Marketing Solutions,

  LLC d/b/a CMS, GST Factoring, Inc., Scott Freda, Gregory Trimarche, Rick Graff, Herbert

  “Buddy” Sievers, RJ Marshal, Manny Kashto, Bill Carlson, David Sklar, and Wes Sabri

  (collectively, “Defendants”) for a conspiracy to violate the Racketeer Influenced and Corrupt

  Organizations Act (“RICO”) through a pattern of mail fraud and wire fraud, along with other

  tortious acts.

                                         Preliminary Statement

          2.       NSL brings this complaint (the “Complaint”) to address an abuse of the law by

  legal professionals as well as associated “debt counseling” practitioners and affiliate marketers.

  Since at least 2015, Defendants have operated as an association in fact to carry out a scheme (the

  “Scheme”) seeking to defraud NSL out of millions of dollars and to inhibit it from collecting

  outstanding student loan debt. Through a network of referral and fee-sharing arrangements, and

  by preying upon unsuspecting NSL customers, Defendants have conspired to manufacture federal

  lawsuits and arbitration proceedings against NSL.

          3.       Defendants operated the Scheme by recruiting and exploiting borrowers in search

  of so-called “debt-relief counseling”—misleading them into stopping payments on their loans (and

  thus ruining their credit) and instead paying Defendants. Because certain of the Defendants and

                                                  3
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 4 of 120 PageID# 2082




  other involved persons have been sanctioned, sued, or charged in connection with aspects of the

  Scheme previously, Defendants knew that the Scheme was wrong. Defendant Mize has also been

  reprimanded and placed on probation by the Arizona Bar for his participation in similar improper

  “debt counseling” actions. Amanda Johanson, a related non-Defendant third party to this action

  who was involved in the Scheme, also was the subject of disciplinary charges and ultimately

  suspended by the California Bar for, inter alia, taking fees from clients to renegotiate loans and

  then not performing any services. 1 Defendants Mize, Lohman, and Ms. Johanson also have been

  the subject of lawsuits by aggrieved consumers. Those prior actions and sanctions, however, have

  not deterred Defendants from continuing to operate the Scheme.

         4.      The Scheme was often initiated by mailings or phone calls originating from certain

  “debt counseling” companies, including but not limited to DocuPrep Center (“DocuPrep”),

  Go2Finance, LLC (“Go2Finance”), and Student Processing Relief (collectively, the “Affiliates”), 2

  that purported to offer consumers a chance to consolidate, reduce, or eliminate altogether their

  student loans. In reality, the Affiliates were working primarily as affiliate marketers to lure student

  loan borrowers into the Scheme. Many consumers believed these mailings originated with the

  federal government based on their wording and appearance. Once a consumer contacted the

  number listed in the mailing and agreed to utilize the services being advertised, he or she was

  charged exorbitant sums to consolidate or lower his or her federal student loan payments –



  1
    Upon information and belief, Amanda Johanson is a natural person domiciled in the state of
  California who was the principal of Amanda Johanson & Associates, previously known as
  Knepper & Johanson Law Group. Ms. Johanson, Amanda Johanson & Associates, and Knepper
  & Johanson Law Group are referred to collectively herein as “Ms. Johanson.” On March 12, 2018,
  the Central District of California entered a verdict against Ms. Johanson in a civil RICO case
  involving a substantially similar scheme. See Mantolino v. Knepper & Johanson Law Group, et
  al., No. 8:17-cv-867 (C.D. Cal. filed May 17, 2017).
  2
    The referenced Affiliates are solely exemplars of the twenty or more “debt counseling”
  companies that all acted in a similar fashion.
                                                    4
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 5 of 120 PageID# 2083




  something that the consumer could have accomplished for free under existing federal student loan

  programs. When a consumer called these “debt counseling” companies seeking to reduce or

  eliminate private student loans, for which consolidation was not available, the consumer was

  referred to one of the Attorney Defendants, as defined below.

         5.      Even after consumers were referred to the Attorney Defendants, these “debt

  counseling” companies, including CMS, would often still field calls and e-mails from consumers,

  have the debtor sign the attorney retainer, set up an auto-debit program to pay the attorney

  unearned monthly fees, and instruct the debtor to stop paying their student loans.

         6.      CMS, Mize, and/or the Lohman Defendants, as defined below, would then instruct

  the consumer to follow a script intended to induce telephone calls from NSL with the goal that

  those calls would form the purported basis for a claim under the Telephone Consumer Protection

  Act (“TCPA”), 47 U.S.C. § 227. In this variant of the Scheme, Defendants would then instruct

  their clients to tally how many calls they received from NSL. Certain Defendants would often

  provide their clients with a “script” for “revoking” consent to receive telephone calls from NSL,

  and would surreptitiously stay on the telephone lines while calls with NSL were taking place,

  disconnecting such calls after they determined that their clients had sufficiently regurgitated the

  prepared dialogue. These Defendants often recorded such conversations, without the knowledge

  or consent of at least NSL. Thereafter, Defendants frequently instructed their clients not to answer

  any further calls from NSL, the intent and effect being to ensure the number of potentially

  actionable calls was inflated as much as possible and to prevent the client from receiving assistance

  with their student loan delinquency from NSL.

         7.      Typically, the Mize Defendants, as defined below, (or Ms. Johanson in some

  instances) would issue letters to NSL on behalf of their purported clients requesting to redirect



                                                   5
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 6 of 120 PageID# 2084




  communications to them. In their letters, the Mize Defendants, Ms. Johanson, attorney Jacob

  Slaughter, and/or attorney Daniel Ruggerio advised that the debt was “disputed” and also requested

  “verification” of the debt under the Fair Debt Collection Practices Act (“FDCPA”) when in fact

  the debt was not genuinely disputed, NSL was not subject to the FDCPA, and the Defendants had

  no interest or use in receiving such voluminous documents. Rather, this letter was intended as a

  smokescreen to conceal the real purpose of the request: to manufacture TCPA claims by laying an

  arguable predicate for such claims with a deliberately vague and muddled “revocation” of TCPA

  consent.

          8.        In either instance, when certain of the Defendants judged that NSL had made a

  sufficient number of calls to the consumer, they would refer the matter to the Lohman Defendants,

  and the Lohman Defendants would initiate legal actions either in federal court or through

  arbitration.

          9.        The Scheme has resulted in substantial losses to NSL, including losses due to the

  fact that otherwise paying customers were induced to stop paying, as well as losses associated with

  defending numerous TCPA lawsuits, such as settlement payments, cancellation of hundreds of

  thousands of dollars in student loan debt, and attorneys’ fees and costs incurred to defend against

  these lawsuits.

          10.       The Scheme also victimized the very consumers whom Defendants claimed to help.

  In following Defendants’ instructions to cease payments to NSL and to instead make monthly

  payments to Defendants, borrowers suffered significant and lasting damage to their public credit

  when their student loans defaulted.       Borrowers also suffered direct monetary losses when

  Defendants pocketed the borrowers’ monthly loan payments with no guarantee that the borrowers

  would receive any pecuniary relief from the Scheme or any tangible benefits with respect to their



                                                    6
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 7 of 120 PageID# 2085




  outstanding student loans, which would ultimately default as a result of the instructions to cease

  payment.

                                                Parties

         11.     Plaintiff NSL is a Delaware limited liability company in the business of servicing

  student loans with its principal place of business in Reston, Virginia. NSL’s sole member is

  Navient Corporation, a Delaware Corporation. NSL was formerly known as “Navient Solutions,

  Inc.” and, before that, “Sallie Mae, Inc.”

         12.     Defendant The Law Offices of Jeffrey Lohman, a Professional Corporation (“Law

  Offices of Jeffrey Lohman”) is a California corporation in the business of providing legal services

  with its principal place of business in Corona, California.

         13.     Defendant Jeffrey Lohman is a natural person domiciled in the state of California

  and is a principal of the Law Offices of Jeffrey Lohman. At all times relevant to this Complaint,

  Defendant Lohman managed the affairs of the Law Offices of Jeffrey Lohman and participated in

  and supervised its work on TCPA matters.

         14.     Defendant Jeremy Branch is a natural person domiciled in the state of California

  and is an employee of Law Offices of Jeffrey Lohman. Defendant Branch was lead counsel in

  many TCPA matters in which the Law Offices of Jeffrey Lohman served as counsel, including,

  but not limited to, the representations of A.C. and J.S. 3, as described below.

         15.     Defendant Alyson Dykes is a natural person domiciled in the state of California and

  is an employee of the Law Offices of Jeffrey Lohman. Defendant Dykes was associate counsel in




  3
   The names of certain consumers are redacted and concealed because many aspects of their cases
  are protected pursuant to confidentiality orders entered in their respective arbitration proceedings.
                                                   7
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 8 of 120 PageID# 2086




  many TCPA matters in which the Law Offices of Jeffrey Lohman served as counsel, including,

  but not limited to, the representation of E.A., D.D., and K.W., as described below.

         16.     Defendant Ibrahim Muhtaseb is a natural person domiciled in the state of California

  and, on information and belief, is a former employee of the Law Offices of Jeffrey Lohman. At

  all relevant times, Defendant Muhtaseb was lead counsel in many TCPA matters in which the Law

  Offices of Jeffrey Lohman served as counsel, including, but not limited to, the representations of

  E.A., Shanna Helvey, L.L., C.S., and K.W., as described below.

         17.     Defendant David Mize Law, PLLC (“David Mize Law”) is an Arizona professional

  limited liability company with its principal place of business in Phoenix, Arizona.

         18.     Defendant David Mize is a natural person domiciled in the state of Arizona and is

  the principal of David Mize Law.        Defendant Mize was lead counsel representing various

  consumers including, but not limited to, A.C., Shanna Helvey, L.L., C.S., J.S., and K.W. in

  proceedings against NSL, as described below.

         19.     Defendant Scott Freda is a natural person domiciled in the state of Texas and is a

  principal of Defendant Champion Marketing Solutions, LLC d/b/a CMS.

         20.     Defendant Champion Marketing Solutions, LLC d/b/a CMS (“CMS”) is a Texas

  limited liability company with its principal place of business in Plano, Texas.

         21.     Defendant Gregory Trimarche is a natural person domiciled, upon information and

  belief, in the state of California and is a principal of Defendant GST Factoring, Inc.

         22.     Defendant Rick Graff is a natural person domiciled, upon information and belief,

  in the state of Texas and is a principal of Defendant GST Factoring, Inc.




                                                   8
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 9 of 120 PageID# 2087




         23.     Defendant Herbert “Buddy” Sievers is a natural person domiciled, upon

  information and belief, in the state of California and is a principal of Defendant GST Factoring,

  Inc.

         24.     Defendant GST Factoring, Inc., (“GST”) is, upon information and belief, is a

  Delaware corporation with its principal place of business in Texas.

         25.     Defendant RJ Marshal is a natural person domiciled, upon information and belief,

  in the state of California and is an operator of non-parties Go2Finance and DocuPrep.

         26.     Defendant Manny Kashto is a natural person domiciled, upon information and

  belief, in the state of California and is an operator of non-parties Go2Finance and DocuPrep.

         27.     Defendant Bill Carlson is a natural person domiciled, upon information and belief,

  in the state of California and is, upon information and belief, a principal of a network of “debt

  counseling” companies acting as affiliate marketers, including the Affiliates.

         28.     Defendant David Sklar is a natural person domiciled, upon information and belief,

  in the state of California and is a principal of non-party DocuPrep.

         29.     Defendant Wes Sabri is a natural person domiciled, upon information and belief, in

  the state of California and is an operator of non-party Student Processing Relief.

         30.     Defendants Law Offices of Jeffrey Lohman, David Mize Law, Lohman, Branch,

  Dykes, Muhtaseb, and Mize are referred to herein as the “Attorney Defendants.”

         31.     Defendants Law Offices of Jeffrey Lohman, Lohman, Branch, Dykes, and

  Muhtaseb are referred to herein as the “Lohman Defendants.”

         32.     Defendants David Mize Law and David Mize are referred to herein as the “Mize

  Defendants.”




                                                   9
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 10 of 120 PageID# 2088




          33.     Defendants Freda, CMS, Trimarche, Graff, Sievers, GST, Marshal, Kashto,

   Carlson, Sklar, and Sabri are referred to herein as the “Debt Counseling Defendants.”

                                              Jurisdiction

          34.     This Court has subject matter jurisdiction over the claims herein under 28 U.S.C. §

   1331 because this case arises under the laws of the United States, namely, the Racketeer Influenced

   and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq.

          35.     This Court has subject matter jurisdiction over state-law claims brought herein

   under 28 U.S.C. § 1367(a) because such claims form part of the same case or controversy as those

   arising under the laws of the United States, and under 28 U.S.C. § 1332 because there is complete

   diversity of citizenship and the amount in controversy exceeds $75,000.

          36.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

   part of the events giving rise to these claims occurred in this District, namely, Defendants directed

   their actions towards NSL knowing that it is based in this district and Defendants advertised their

   services in the Commonwealth of Virginia.

          37.     Venue also is proper in this District under 18 U.S.C. § 1965(a), because Defendants

   all transact their affairs in the Commonwealth of Virginia by advertising for clients and/or

   operating the Scheme here.

                   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

                                          NSL and the TCPA

          38.     NSL is one of the largest servicers of student loans in the United States, servicing

   a multi-billion-dollar portfolio in outstanding student loans for over twelve million customers,

   including a mix of loans owned by the federal government, privately owned loans guaranteed by

   the federal government, and wholly private loans.



                                                    10
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 11 of 120 PageID# 2089




           39.     Privately-owned loans serviced by NSL—whether or not those loans are guaranteed

   by the federal government—are owned by various trusts or other entities for which NSL is the

   servicer and authorized agent.

           40.     Most of NSL’s twelve million customers pay down their student loans without

   incident.

           41.     When a borrower falls behind on his or her loan payments, NSL may contact that

   borrower, as well as others associated with the account. NSL does this to help borrowers to avoid

   default by making sure that they are aware of their repayment options.

           42.     NSL also does this to protect both the public and private funds with which it is

   charged. By working with customers to avoid default, NSL protects taxpayer funds that are at risk

   when a federally owned or guaranteed loan is not repaid.

           43.     In fact, the Higher Education Act of 1965 (as amended) and United States

   Department of Education regulations require NSL to make certain due diligence contacts with

   customers who fall behind on repaying certain types of loans.

           44.     NSL’s telephone contact with its customers is subject to regulation by various state

   and federal laws, including the federal TCPA.

           45.     The TCPA was enacted by Congress in 1991 with the purpose of “balanc[ing]”

   “individuals’ privacy rights, public safety interests, and commercial freedoms of speech and trade

   . . . in a way that protects the privacy of individuals and permits legitimate telemarketing practices.”

   TCPA Pub. L. No. 102-243 § 2(9), 105 Stat. 2394 (1991).

           46.     To achieve this balance without discriminating against certain types of speech, the

   TCPA restricts the manner in which calls can be made, including placing restrictions on the ability

   of NSL and other companies to call customers using an automatic telephone dialing system



                                                     11
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 12 of 120 PageID# 2090




   (“ATDS”) without their express consent. The definition of an ATDS subject to the TCPA has

   been the subject of significant litigation in the federal courts. NSL contends that its processes are

   compliant with the TCPA.

          47.     In order to deter improper autodialing practices, the TCPA provides for outsized

   $500 statutory damages for every call that violates the statute. If violations are willful or knowing,

   a court may increase the damages to up to $1,500 per violation.

          48.     The size of these potential statutory damages has enticed many plaintiffs’ attorneys

   to seek out TCPA cases. These attorneys frequently bring class action claims against large

   defendants and use the threat of potentially crippling damages to extract settlements for suits that

   may be of questionable merit or which depend on unsettled legal issues. Other attorneys, like

   those named as Defendants here, are not content to seek these cases out, but have undertaken a

   scheme to manufacture claims where none otherwise existed.

          49.     To manufacture these claims, scammers like the Affiliates and CMS attract student

   loan borrowers by advertising themselves as “debt counselors” or “debt relief services.” Rather

   than help these customers to pay or restructure their obligations, many of these scammers instead

   advise customers to purposefully stop paying their loans and attempt to misuse the TCPA and other

   laws offensively in an effort to reduce or avoid their loan obligations.

          50.     To comply with the TCPA and other laws, NSL has implemented comprehensive

   compliance programs pursuant to which, inter alia, it will only call customers manually, unless it

   possesses their express consent to contact them with the use of automated dialing technology. NSL

   may obtain such consent as part of the loan application process, but also may do so at various

   points during the course of servicing a customer’s loan.




                                                    12
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 13 of 120 PageID# 2091




          51.     When NSL understands that it lacks such consent, for example, if a customer asks

   NSL to stop contacting him or her using automated means, NSL honors that request and will only

   contact such customer manually.

          52.     Because these customers still are obligated to pay often-substantial sums on

   outstanding student loans, NSL may continue to contact customers using permitted, manual dialing

   methods, even if the customer has purported to withdraw their consent to be contacted using

   automated dialing methods.

          53.     As part of the Scheme, the Attorney Defendants have targeted NSL’s customers to

   bring TCPA suits on their behalf, seeking windfalls through the threat of costly litigation.

                                              The Scheme

          54.     To carry out the Scheme, Defendants engaged in a pattern of wire and mail fraud.

          55.     GST had a central role in the Scheme; operating as a factoring company that

   controlled the flow of funds within the Scheme. GST connected attorneys with CMS and with a

   network of affiliate marketers to recruit borrowers into the scheme through a pattern of deceptive

   marketing practices.

          56.     The attorney first involved in the Scheme was Amanda Johanson. Ms. Johanson,

   however, proved to be unreliable. In or about the fall of 2015, Defendant Trimarche called

   Defendant Mize and presented him with the opportunity to participate in their program. After

   inquiring about the volume of work that was being proposed, Defendant Mize accepted.

          57.     Defendant Trimarche or Defendant Graff of GST also introduced Defendant Mize

   to CMS. On information and belief, Defendant Freda has known Defendant Graff of GST for 25

   years. On the advice of GST, the Mize Defendants hired CMS to provide all of the administrative

   work associated with the clients referred by the Affiliates.



                                                    13
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 14 of 120 PageID# 2092




          58.     Defendants repeatedly sent false and fraudulent mailings both to consumers and to

   NSL using the U.S. Postal Service (“USPS”). For instance, the “debt counseling” companies that

   recruited consumers into the Scheme, including the Affiliates, sent letters and flyers to consumers

   that misleadingly appeared to be from a government entity offering assistance in reducing

   borrowers’ student loan debts.

          59.     The mailers also promised consumers assistance in negotiating down their student

   loan debt, when instead these “debt counseling companies,” including CMS and the Affiliates,

   never intended to do so; they only intended to manufacture TCPA claims against NSL. Many of

   the consumers who subsequently filed suit against NSL believed that the mailings were sent from

   or on behalf of the United States, and relied on the representations contained therein.

          60.     In some instances, the Affiliates called the consumers directly. Regardless of how

   first contact was made, the Affiliates would eventually speak with the borrowers and attempt to

   persuade them to sign an engagement letter with Defendant Mize (or perhaps Ms. Johanson or

   another attorney, Jacob Slaughter, as the Scheme evolved over time and the earlier attorneys had

   sanctions or complaints filed against them). During the course of those calls, the Affiliates would

   routinely make misrepresentations to the borrowers concerning the scope, efficacy, and risks

   inherent in the “debt relief” program being offered. For example, borrowers were told that there

   was a nationwide network of attorneys involved (which was false), and that the program had a

   100% success rate (also false). Many borrowers were told that their payments would be used to

   pay their student loan debts. This was also false.

          61.     When a new client was recruited by an Affiliate, they would have the customer sign

   an automatic deposit agreement with Secure Account Services (“SAS”). The customer’s payments

   to his or her account at SAS would be swept by GST, which would then pay the Mize Defendants,



                                                    14
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 15 of 120 PageID# 2093




   CMS, and the Affiliates. SAS retained a fee for each transaction. Generally, the Mize Defendants

   were paid 30% of the amounts collected from borrowers, which included the 10% paid to CMS on

   behalf of the Mize Defendants and Mize Defendants’ charges from DebtPay Pro (“DPP”), the

   Customer Relationship Management (“CRM”) software used by the Mize Defendants and others.

   DPP charged Mize $55 per user per Affiliate. The remaining 70% of customer payments were

   split by GST and the Affiliates in an unknown proportion.

          62.     Because they knew that many borrowers recruited into the program had no

   meaningful prospect of renegotiating their debt, the Defendants would attempt to manufacture

   federal law claims, primarily TCPA claims, on behalf of such borrowers and then refer those

   claims to the Lohman Defendants. The Lohman Defendants directly participated in the effort to

   manufacture these claims

          63.     The Attorney Defendants, for their part, sent various demand letters to NSL on

   behalf of “clients” whom they oftentimes did not actually represent and for whom they had no

   authority to act. In other instances, the Attorney Defendants sent letters to NSL in which these

   Defendants stated their intention to negotiate their clients’ debts with NSL, when in truth they had

   no such intention. In still other instances, the Attorney Defendants sent letters to NSL in which

   they stated that they were “looking to verify” a disputed debt when they knew that no basis to

   dispute the debt existed.

          64.     The “debt counseling” companies that recruited consumers into the Scheme,

   including CMS and the Affiliates, also misrepresented via telephone conversations with consumers

   that the Attorney Defendants would negotiate consumers’ student loan debts with NSL, when in

   fact the Attorney Defendants only intended to manufacture TCPA claims against NSL.




                                                   15
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 16 of 120 PageID# 2094




           65.     The Attorney Defendants repeatedly made fraudulent misrepresentations to NSL in

   communications and other legal papers sent over the wires. For example, in the exchange of

   discovery during litigation with NSL, the Attorney Defendants submitted discovery responses

   containing certifications that they represented a particular client and that they were answering on

   that client’s behalf when in fact no such representation existed, as NSL later learned. Alternatively,

   the Attorney Defendants submitted these responses certifying that they had consulted with their

   clients when, in truth, those clients were unaware that any discovery had been exchanged. Further

   still, the Attorney Defendants instructed their clients to call NSL operators stating that they did not

   want to receive calls from NSL when their entire Scheme depended on receiving such calls. At

   times, the Attorney Defendants or their employees were on the calls with their clients when these

   false statements were made to NSL.

           66.     In addition, Defendants misled their own clients by advising them to default on

   their loans as part of a purported debt relief plan, putting their clients in a materially worse position,

   injuring their credit, and, in some cases, increasing rather than decreasing their student loan debt

   as a result of this fraud.

                                      “Debt Counseling” Defendants

           67.     Defendants work with a network of approximately 20 marketing affiliates that refer

   clients in need of debt relief services, specifically with respect to student loan debt, to attorneys

   purportedly to settle the clients’ debts. Upon information and belief, these affiliates are largely

   under common control of Defendant Carlson.

           68.     Three such affiliates that created a significant number of referrals to the Attorney

   Defendants were Go2Finance, Direct SPC, and DocuPrep Center, which NSL believes to be

   fictional or “doing business as” names. DocuPrep had as many as 70 people marketing on behalf



                                                      16
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 17 of 120 PageID# 2095




   of the Scheme. Direct SPC had as many as 30 people marketing on behalf of the Scheme.

   Go2Finance had as many as 25 people marketing on behalf of the Scheme.

            69.     Upon information and belief, Defendants Marshal and Kashto operate Go2Finance,

   Direct SPC, and DocuPrep. CMS is owned by Defendant Freda.

            70.     The Affiliates generally also market for and act as federal student loan

   documentation companies. Thus, they seek borrowers with federal student loan debt and seek to

   assist those borrowers sign up for free federal relief programs for an up-front fee or recurring

   monthly charges. As Defendant Trimarche described the Scheme to Defendant Mize, the private

   loan debtors were merely an “ancillary catch” in targeting federal student loan debtors.

            71.     The Federal Trade Commission and several state attorneys general have brought

   numerous actions against such companies engaging in similar practices, including Student Loan

   Resolve, a student loan document preparation and processing company operated by Defendant

   Freda.

            72.     A client is brought into the Scheme by a “debt counseling” company such as one

   of the Affiliates. These companies, like the other affiliate marketers involved, hold themselves

   out as debt counselors who can help consumers get out of their student loan debt using a variety

   of techniques.

            73.     These “debt counseling” companies, including the Affiliates, recruit student loan

   debtors by advertising “debt counseling” and debt relief services via mailed flyers and cold calls

   sent to student loan debtors. Initial contact with the NSL borrower is typically through a mail

   solicitation. These solicitations often contain relatively accurate information about consumers’

   student loans, which the Debt Counseling Defendants obtain through accessing credit reports or

   by purchasing the information through various channels.



                                                   17
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 18 of 120 PageID# 2096




          74.     The recruitment of debtors occurs nationwide. On first glance, the solicitation

   appears to be some sort of governmental or official document, and typically includes a relatively

   accurate reference to the amount of the borrower’s then-outstanding student loan(s). These

   solicitations advise the recipients that they might be eligible for consolidation, reductions, or,

   potentially, “total forgiveness” of their student loans. An example of one such solicitation is

   attached as Exhibit A. Often these solicitations reference “new federal laws” that might help

   reduce a borrower’s payments and/or appear to have originated from the federal government.

   When asked, borrowers did not recall discussing any “new” law with the “debt counseling”

   company.

          75.     These solicitations were fraudulent and misleading.

          76.     The phone number listed on the solicitations leads the borrower to a “debt

   counseling” company such as the Affiliates and/or CMS. Based on deposition testimony and files

   produced by individual borrowers in discovery, several other recruiters (or aliases) also appear to

   be involved. The borrowers are often confused about whom they contacted, and with whom they

   were working. Some borrowers believed they were working directly with the United States

   Department of Education or its duly-authorized agents.

          77.     Upon information and belief, these “debt counseling” companies, including the

   Affiliates, also were involved in federal student loan programs and appear to have charged fees for

   signing up borrowers for consolidation, forbearance/deferment, enrollment in income-driven

   repayment plans, or other benefits that borrowers easily could have obtained on their own for free.

          78.     With respect to consumers’ private student loans, despite making contrary

   statements to the borrowers, the “debt counseling” companies that recruited consumers into the

   Scheme, including CMS and the Affiliates, do not provide private student loan relief services at



                                                   18
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 19 of 120 PageID# 2097




   all. Instead, they abuse the student loan borrowers and their knowledge of standard industry

   practices to manufacture TCPA lawsuits against NSL.

          79.     The Debt Counseling Defendants that recruited consumers into the Scheme through

   affiliate marketing efforts refer consumers to attorneys, including the Mize Defendants and Ms.

   Johanson, for the stated purpose of trying to negotiate with NSL and other loan servicers.

          80.     Under a model proposed by GST, the affiliate companies, including DocuPrep and

   Go2Finance, would recruit borrowers and then refer them to CMS, which provided the day-to-day

   administrative services for attorneys, including the Attorney Defendants.

          81.     After referring consumers to the Mize Defendants or Ms. Johanson, these “debt

   counseling” companies, including CMS, would continue to field calls and e-mails from these same

   consumers. These companies, including CMS, are made up of non-lawyers acting “on behalf” of

   the Mize Defendants and/or Ms. Johanson, who are tasked with having student loan debtors sign

   attorney retainers, setting up auto-debit programs to pay the attorneys’ monthly fees, and

   instructing debtors to stop paying their loans in order to trigger phone calls from NSL.

          82.     The Defendants typically did not advise these consumers that the course of action

   that they were being directed to take would severely damage their credit and the credit of any co-

   signers on their loans. As such, numerous borrowers recruited by the Defendants stated in

   deposition that they did not know that the impact that defaulting would have on their credit or on

   their guarantor’s credit. Similarly, numerous borrowers complained to the Defendants when they

   learned of the deleterious effect that the “program” had on their credit.

          83.     Further, the “debt counseling” companies that recruited consumers into the

   Scheme, including CMS, intended to deceive consumers, and encouraged consumers to contact

   them directly instead of the Attorney Defendants. For example, certain of these “debt counseling”



                                                    19
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 20 of 120 PageID# 2098




   companies, including CMS, would send direct communications thanking student loan borrowers

   for choosing to become a client of the Mize Defendants or Ms. Johanson. And many of the

   consumers testified that they believed these “debt counseling” companies, including CMS, were

   employees of the Mize Defendants or Ms. Johanson. When transmitting its “welcome package”

   of documents and information to borrowers, CMS expressly identified itself as: “CMS – David

   Mize Law.” This is the type of conduct for which Mize was disciplined by the Arizona Bar.

          84.     In the instance of the Mize Defendants’ engagement agreement, the agreement

   provides for Defendant Mize to represent a client in dealings with student lenders or other creditors

   in exchange for a “fixed fee,” which appears to be calculated as exactly 40% of the outstanding

   student loan debt. Ms. Johanson’s agreement is functionally identical, and similarly requires the

   client to pay a “fixed fee” which appears to be calculated at exactly 40% of the outstanding debt

   disclosed by the consumer.

          85.     In some instances, after having the consumer execute an engagement agreement,

   CMS would then instruct the consumer to follow a script intended to induce telephone calls from

   NSL, with the goal that those calls would form the basis for a claim under the TCPA. Often, an

   employee of CMS would be on the line and would record the telephone call, sometimes illegally.

   Because Defendants Mize and Lohman become dissatisfied with the job that CMS was doing with

   recording these revocation calls, the Defendants began to have various employees of the Lohman

   Defendants manage and record these calls.

          86.     Some clients of the Scheme asked NSL to stop calling them before they ever

   became delinquent on their loans, and at a time when they had not received any calls from NSL.

   There is no obvious reason why a person would request for NSL to stop making calls that had

   never begun unless he had been instructed to do so as part of the Scheme.



                                                    20
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 21 of 120 PageID# 2099




           87.       Because it is NSL’s policy to attempt to contact delinquent borrowers to help them

   avoid default, NSL often would continue trying to contact these individuals by placing manually-

   dialed calls. Typically, these borrowers had been instructed not to answer any calls from NSL,

   leading NSL to continue trying to reach and assist them regarding their loans.

           88.       After clients called NSL and read from the script, they were instructed to tally any

   calls received from NSL or businesses to whom they owed money. Clients were instructed to send

   regular e-mails to the “debt counseling” companies that had recruited them into the Scheme, such

   as CMS, listing any calls that they believed they may have received from NSL or any other

   creditor.

           89.       Because the TCPA provides for $500 to $1500 in potential statutory damages for

   each call, clients were advised that they could expect to receive this much every time NSL called

   them. The Defendants typically did not inform their clients that calls made by NSL without the

   use of an ATDS did not violate the TCPA. Accordingly, participants in the Scheme considered

   the phone calls to be equivalent to money.

           90.       For instance, in a federal matter handled by the Lohman Defendants against NSL,

   the Lohman Defendants’ client answered calls from NSL at various times (after allegedly revoking

   consent from NSL) with the following remarks:

                 •   “Right, but you keep calling me. Every time you call me, that’s a $500 fine. And

                     you called me 3 times.”

                 •   “They told me this was going to happen. They said your two departments don't talk

                     to one another. Every time you call me, it’s $500 off the bottom line. So, I’m

                     perfectly fine, anytime you guys want to call, give me a call.”

                 •   “Every time you guys call me it’s a $500 fine so call me as much as you want.”


                                                      21
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 22 of 120 PageID# 2100




          91.     Clients were advised to track incoming calls until the value of those logged calls,

   based on anticipated statutory damages claims, was large enough to offset the client’s outstanding

   debt, provide fees for the members of the Scheme, and provide the client with an additional

   windfall.

          92.     When CMS and/or the Mize Defendants and/or Ms. Johanson judged that NSL had

   made a sufficient number of calls, it would refer the matter to the Lohman Defendants, and the

   Lohman Defendants would initiate legal actions either in federal court or through the filing of

   arbitration demands.

          93.     During this time, monthly payments were being made to the Mize Defendants (or

   in some earlier cases, Ms. Johanson) for the ostensible purpose of resolving the client’s student

   loan debts, though this money was, in fact, pocketed by GST, the affiliate companies run by the

   Debt Counseling Defendants, and the attorneys. Despite limited communications with NSL in

   some one-off matters, neither the Mize Defendants (nor Ms. Johanson) actually negotiated their

   clients’ debts in the majority of cases.

          94.     These actions harmed the very consumers Defendants were purporting to help by

   causing them to miss loan payments and ruining their credit. Several consumers have caught on

   to the Scheme, as evidenced by an action recently filed in the United States District Court for the

   Central District of California, Mantolino v. Knepper & Johanson Law Group, et al., No. 8:17-cv-

   867 (C.D. Cal. filed May 17, 2017) (attached hereto as Exhibit B). Among others, Ms. Mantolino

   named CMS as a defendant who had “engaged in a multi-state conspiracy to defraud consumers

   by obtaining monthly ACH payments as a direct result of fraudulently claiming that Defendants

   would represent consumers in the handling of student loan processing.” Compl., Dkt. 1, ¶ 2. In

   reality, “Defendants never intended to actually represent consumers in the handling of student



                                                   22
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 23 of 120 PageID# 2101




   [loan] processing” and they “knew that the consumer loans would go directly into default.” Id. ¶¶

   4, 5. As part of this conspiracy, Ms. Mantolino alleges that CMS and others “instructed [her] to

   stop paying her debts and to go into default.” Id. ¶ 19. Further, Ms. Mantolino alleges that CMS

   and others “never attempted to negotiate [her] loans” and “instead only sent a cease and desist

   letter to [her] creditors and did nothing else while [her] loans defaulted and her credit score

   plummeted.” Id. ¶¶ 23, 24. As discussed below, other consumers also have filed suit more recently.

          95.     Numerous consumers were irreparably harmed by the conduct of the Mize

   Defendants, Ms. Johanson, CMS, and the Affiliates. The State Bar of California filed disciplinary

   charges against Ms. Johanson in July 2017 and December 2017 related to her representation of

   clients and their student loan debt. In the Matter of Amanda Lynn Johanson, State Bar Court Case

   No. 16-O-11041 (attached hereto as Exhibit C); see also In the Matter of Amanda Lynn Johanson,

   State Bar Court Case No. 17-O-01254.         Significantly, many of the charges related to Ms.

   Johanson’s conduct involving non-attorney employees of CMS, such as “allowing them to perform

   initial case consultation”, “set, charge and collect fees from the clients for legal services, [and]

   provide legal advice to the clients regarding the purported invalidity of their student loans . . .

   independently and without supervision . . . .” Id. ¶ 18. In numerous instances, Ms. Johanson

   accepted advance payment of attorney’s fees but ultimately failed to negotiate with the clients’

   lenders, and failed to perform any legal services. Id. ¶¶ 2–16. Further, Ms. Johanson was accused

   of charging hundreds of thousands in unconscionable legal fees to clients under false pretenses, in

   which “no portion of the fees was used to pay any portion of the clients’ student loan debts.” Id.

   ¶¶ 20, 23.




                                                   23
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 24 of 120 PageID# 2102




                                             Mize Defendants

           96.     Although Defendant Mize is located in Arizona, his attorney engagement

   agreement directs “Responsive Documents” to be sent to an address in Plano, Texas, which also

   corresponds to CMS, which operates from 860 F Avenue, Suite 104, Plano, TX 75074.

           97.     Defendant Mize did not meet initially with clients before receiving signed fee

   agreements. Rather, the “debt counseling” companies that recruited consumers into the Scheme,

   such as the various affiliate marketers and CMS, were given access to their representation

   agreements, and purportedly enrolled prospective clients without speaking to Defendant Mize or

   Ms. Johanson 4. Mize would confirm the representation when the signed engagement was uploaded

   into his CRM software for his review.

           98.     In many cases, student loan debtors who were current on their student loans would

   stop paying NSL at the instruction of these “debt counseling” companies that recruited these

   debtors into the Scheme, such as CMS, and begin paying the Mize Defendants or Ms. Johanson

   instead, defaulting on their loans as a result.

           99.     In instances in which clients had not already revoked consent telephonically to

   receive non-manual phone calls from NSL, after those clients executed their respective attorney

   engagement agreements, an employee of an entity named Consumer Financial Services, LLC d/b/a

   Student Loan Resolve, which upon information and belief is an affiliate or subsidiary of CMS,

   acting on behalf of the Mize Defendants or Ms. Johanson, would send form letters to NSL via



   4
     Indeed, in October 2017, Defendant Mize was reprimanded and placed on probation by the State
   Bar of Arizona for violating Arizona Rules of Professional Conduct 1.4 and 1.6. Specifically, Mr.
   Mize admitted that while practicing law, he gave access to his representation agreement forms to
   debt relief companies, including CMS and the Affiliates, and negligently permitted non-attorneys
   employed at those companies to sign his name on representation agreements. This effectively
   resulted in certain of Mr. Mize’s clients hiring him for legal services and making payments to him
   without first being given an option to speak to him directly.
                                                     24
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 25 of 120 PageID# 2103




   facsimile, instructing it to redirect further communications to them, falsely advising that they

   “disputed” those borrowers’ debts, and requesting voluminous account information. The form

   letters used by Defendant Mize are identical to—and have the same return address as—form letters

   used by Ms. Johanson. An example of one such letter is attached as Exhibit D. NSL has received

   hundreds of these form letters from the Mize Defendants (and Ms. Johanson prior to her suspension

   by the California Bar). Mize subsequently sent a version of the same “cease and desist” letter to

   Ruggiero.

          100.    In response to these form letters from the Mize Defendants, NSL frequently

   requested that the Mize Defendants obtain verification from their purported clients before NSL

   would provide information to them. NSL received no response from these law firms or from their

   purported clients the vast majority of the time.

          101.    Once the debt dispute letter had been issued, CMS and/or the Mize Defendants

   would instruct their clients to cease communicating with NSL, tally the number of calls received

   from NSL, and to regularly submit those tally logs to the “debt counseling” companies such as

   CMS.

          102.    When the potential statutory damages were equal to or greater than a client’s

   outstanding student loan debt, the Mize Defendants referred the client to other attorneys, including

   the Lohman Defendants, to file a lawsuit or an arbitration demand against NSL.




                                                      25
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 26 of 120 PageID# 2104




                                         Lohman Defendants 5

          103.    In some instances, the “debt counseling” company that had recruited a client into

   the Scheme had not instructed the client to call to revoke consent from NSL. In other instances,

   the Mize/Lohman Defendants had not issued a debt dispute letter. When the Lohman Defendants

   received case files for cases that fit either of these categories, they would themselves instruct a

   referred consumer to follow a script intended to lay the foundation for a TCPA claim by revoking

   consent to be called, operating on the assumptions that NSL would continue to call the consumer

   and would use an ATDS to do so. In several instances, one or more of the Lohman Defendants

   would initiate a three-way call with the consumer and NSL, maintain silence on the line, and record

   the call without NSL being aware of or consenting to the recording.

          104.    As described above, some clients called to revoke consent before NSL began

   calling them over defaulted loans or before they even had defaulted on the loans. And, as before,

   many of these clients were instructed not to answer NSL’s calls. Other clients called to revoke

   consent once they had already become delinquent at the Attorney Defendants’ instruction and had

   begun receiving calls from NSL. Clients were then instructed to maintain logs tallying calls

   received from NSL.

          105.    The Attorney Defendants also instructed their clients not to not pick up any calls

   from NSL after they had revoked consent in order to inflate the call count and to avoid the

   possibility of a client re-giving consent or resolving the delinquency.



   5
     The Law Offices of Jeffrey Lohman took on cases previously handled by the law firm Krohn &
   Moss Ltd, which were the subject of a similar RICO action filed in the United States District Court
   for the Eastern District of Virginia, case number 1:17-cv-01178-LMB-TCB. Following the
   disposition of the prior RICO action, Krohn & Moss Ltd. withdrew from its representation of
   individuals involved in the lawsuit. Jeffrey Lohman, who used to work for Krohn & Moss Ltd.,
   took over those cases for Krohn & Moss Ltd. despite knowing (or perhaps because he knew) that
   their provenance was rotten.
                                                   26
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 27 of 120 PageID# 2105




          106.    In both circumstances, the Lohman Defendants intended the revocation call to

   manufacture a TCPA claim. That is, the Lohman Defendants intended the call to serve as the

   revocation of any prior consent given by the client to NSL. The Lohman Defendants understood

   NSL would then keep calling in a manual mode. Or, the Lohman Defendants hoped an NSL agent

   would make, in rare instances, a mistake and NSL would inadvertently call by automatic means

   that could be characterized as an ATDS. In either case, such calls would then serve as a foundation

   for a legal action that would take advantage of unsettled legal issues in the TCPA and apply

   pressure on NSL to settle or else incur substantial litigation costs to defend. Typically, to then

   complete the Scheme, the Lohman Defendants would file a lawsuit or arbitration demand against

   NSL and either seek a settlement or force NSL to defend itself in federal court or in a costly

   arbitration hearing.

          107.    In addition to harming NSL, the Lohman Defendants are harming consumers. Just

   as with Defendant CMS, the Lohman Defendants’ actions have resulted in civil suits from

   consumers. In a recent, Missouri state court case, Johnson v. Law Offices of Jeffrey Lohman &

   Veritas Legal Plan, Inc., No. 1822-AC07686 (Mo. Cir. Ct. filed Mar. 15, 2019), Theresa Johnson

   alleges that she reached out to a debt counseling company that referred her to Veritas Legal Plan,

   who in turn referred her to the Lohman Defendants as part of Veritas’s “Debt Validation Program.”

   First Am. Pet. (attached hereto as Exhibit E) ¶¶ 32–36, 49. The debt counseling company “abused

   [Ms. Johnson’s] relative ignorance and its own position of power and enticed Plaintiff to enter into

   an agreement whereby [Ms. Johnson] agreed to (1) stop paying all of her unsecured creditors and

   (2) send $391.26 every month to [the debt counseling company].” Id. ¶ 40. Ms. Johnson alleges

   that “[a]fter signing up with the [debt counseling company], [she] noticed that the collection calls

   and letters actually increased.” Id. ¶ 45. Ms. Johnson alleges that the Lohman Defendants



                                                   27
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 28 of 120 PageID# 2106




   attempted to “solicit Telephone Consumer Protection Act (‘TCPA’) cases from [her]” and

   contacted her repeatedly to generally solicit business regarding her debts and debt collectors and

   take on TCPA cases. Id. ¶¶ 57, 60. Further, Ms. Johnson alleges that the Lohman Defendants

   gave her a “statement” that she “was supposed to read over the phone to her debt collectors.” Id.

   ¶ 65. Finally, Ms. Johnson alleges that “Lohman deceived and misled [her] into continuing to use

   its services for either direct payment by [Ms. Johnson] to Lohman or payment in the form of

   attorney’s fees paid through TCPA case settlements,” “pocket[ing] all or most of [Ms. Johnson’s]

   money and . . . not perform[ing] as they promised,” leaving Ms. Johnson’s credit ruined with no

   resolution of her debt. Id. ¶¶ 74, 77–81.

          108.    To date, the Attorney Defendants have engaged hundreds of debtors in multiple

   states and filed dozens of claims in multiple states.

                                   Role of the Attorney Defendants

          109.    David Mize Law is one of the law firms participating in the Scheme.

          110.    Upon information and belief, David Mize Law became involved in the Scheme at

   the direction of Defendant Mize.

          111.    The Law Offices of Jeffrey Lohman is one of the attorney partners participating in

   the Scheme.

          112.    Upon information and belief, the Law Offices of Jeffrey Lohman became involved

   in the Scheme at the direction of Defendant Lohman.

          113.    Once a debt counseling company, including the Affiliates, referred a consumer to

   the Mize Defendants (directly or through an affiliate marketer), the Mize Defendants would tally

   how many calls the client had received from NSL following the client’s purported revocation of

   consent.



                                                    28
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 29 of 120 PageID# 2107




          114.    The “Scope of Services” outlined in the Mize Defendants’ retainer agreement states

   that Defendant Mize will make all efforts to “eliminate (or reduce, as the facts of your case dictate)

   [the borrower’s] student loan debts, primarily through negotiations with [the borrower’s] lenders.”

   Despite this representation to borrowers, Defendant Mize actually attempted to negotiate the debt

   with NSL in only a miniscule fraction of cases where his firm was retained by NSL’s customers.

          115.    The fee for Defendant Mize’s service was a flat fee that amounts to approximately

   40% of the borrower’s outstanding loan balance. Payments to the Mize Defendants were made on

   a monthly basis and were automatically debited from a borrower’s bank account. The monthly

   payment to the Mize Defendants was often very close to the borrower’s monthly student loan

   payment, but was sometimes higher. This fee did not include a separate 40-45% contingency fee

   later charged by the Lohman Defendants in connection with litigating a TCPA claim.

          116.    When deposed, some borrowers testified they were instructed to stop paying NSL

   and instead pay the Mize Defendants (or in some cases, Ms. Johanson). Others said they were told

   “it would work better” if they stopped paying NSL (so calls would ensue). Yet others testified

   they were not instructed to stop paying, but simply could not pay both the Mize Defendants and

   NSL, so chose to pay the Defendants.

          117.    The Mize Defendants would refer a “ripe” file to the Lohman Defendants for

   litigation. Per an express agreement with the Lohman Defendants, Defendant Mize would take no

   part in the litigation, but would receive 10% of the contingency fee from the client, on top of the

   40% he would take pre-suit. Although required by both Arizona and California ethical rules, there

   is no indication that clients ever expressly agreed to this division of fees.




                                                     29
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 30 of 120 PageID# 2108




          118.    Upon information and belief, prior to her suspension, Ms. Johanson shared a similar

   agreement with the Lohman Defendants in which she agreed to refer “ripe” files to the Lohman

   Defendants.

          119.    From 2015 to the date of filing of this Complaint, NSL suffered millions of dollars

   in losses to its business by reason of Defendants’ racketeering activity. Further, NSL paid not less

   than $750,000 in settlements to plaintiffs represented by the Attorney Defendants and who are

   believed to have been involved in the Scheme.

          120.    Each of these payments was obtained by a pattern of fraud and deception, including

   various acts of wire fraud, mail fraud, witness tampering, and other wrongful and tortious activity,

   as detailed below.

          121.    NSL may not have entered into these settlements were it not for the Scheme and

   the inflated damages manufactured by the Defendants as part of their arbitration demand.

          122.    Further, the Scheme’s efforts have required NSL to cancel over $1.4 million in

   valid student debt as a condition of settlements extracted by fraud and the concealment of the

   Scheme. This does not include the value of debts that remain outstanding but that, because of

   Defendants’ interference in NSL’s contractual relationships with its customers, are unlikely ever

   to be repaid. Defending against TCPA suits that were manufactured by the Scheme was costly

   and required NSL to incur over $2.6 million in attorneys’ fees, not including time and resources

   devoted by NSL’s in-house attorneys and other employees.            Upon information and belief,

   Defendants continue to recruit debtors and to pursue their manufactured claims, with only slight

   changes in their tactics, as they have since at least 2015. Absent relief, Defendants will continue

   to engage in this pattern of racketeering activity.




                                                    30
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 31 of 120 PageID# 2109




          123.      The Mize Defendants stopped accepting referrals from the affiliates/Debt

   Counseling Defendants sometime in late 2017. GST, the Debt Counseling Defendants, and

   Lohman then began, or continued, to work with attorney Jacob Slaughter.

          124.    In September 2017, Defendant Lohman introduced Defendant Mize to attorney

   Daniel Ruggiero, whom Defendant Lohman introduced to discuss Mr. Ruggiero’s possible

   involvement with Ms. Johanson’s files. Despite actual knowledge of Ms. Johanson’s then-pending

   bar complaint and having concerns with the practices of the debt counseling companies, including

   the Affiliates, Defendant Mize continued to assist the other participants in the Scheme, including

   by assisting GST in replacing Ms. Johanson’s role in the Scheme, and promoting Mr. Ruggiero to

   take over her responsibilities.

          125.    After a phone call with Mr. Ruggiero on September 27, 2017, Defendant Mize

   wrote to Mr. Ruggerio to tell him that “I had a chance to speak with some of the folks I work with.

   I think there’s a mutually beneficial relationship to be had here. There are some nuts and bolts

   we’re working out but I’d like to discuss with you again sometime on Friday.” On information

   and belief, the individuals Defendant Mize consulted included Defendants Trimarche and Graff.

          126.    In an email on October 4, 2017, Defendant Mize told Mr. Ruggiero that he had

   “more info on this of-counsel deal.” On October 17, 2017, Defendant Mize emailed Defendant

   Trimarche and asked whether “we have a JLG of-counsel agreement.” Later that day, Defendant

   Mize again emailed Mr. Ruggiero and stated, among other things, “I attached a draft of the

   factoring agreement GST has used. Look over it and let me know if you have any

   questions/revisions. I’ll call you tomorrow to discuss work-flow/transitioning/etc. . . ..” Mr.

   Ruggiero subsequently entered into the factoring agreement with Defendant GST, and took over

   Ms. Johanson’s files. Mr. Ruggerio also acted as local counsel for Defendant Lohman on several



                                                   31
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 32 of 120 PageID# 2110




   TCPA cases against NSL where borrowers were recruited by the Debt Counseling Defendants and

   referred to the Mize Defendants.

             127.   Defendant GST used Mr. Ruggiero’s agreement to continue to expand its private

   student loan program. For example, on October 26, 2017, Defendant Graff copied Defendant Mize

   on an email to Anthony Davis of Minerva Media. On October 26, Mr. Davis had stated that “So

   we just completed our ads and landing page for private student loan leads. and [sic] its [sic] coming

   in very well, I just want to make sure before we convert our entire sales floor to private loans you

   guys will be able to handle.” Defendant Graff replied, “Absolutely, we just brought on another

   very large volume attorney.” Defendant Mize subsequently provided Mr. Ruggiero with a copy

   of the form engagement letter and a copy of the cease and desist/demand for verification that he

   used in connection with the Scheme.

             128.   In a January 22, 2018 email to Mr. Ruggiero, Defendant Mize outlined his

   experience with various debt collectors and their settlement practices.           Significantly, he

   highlighted the role played by the Lohman Defendants, stating, “My TCPA work with Jeff Lohman

   has resulted in a lot of positive results for clients. I definitely recommend you work with him to

   formulate a plan to develop as many cases as you can. I have also successfully used call

   logs/revocations/c&d letters to negotiate down loans once they’re in a litigation status with a

   collection firm. This can only be done with an attorney, but it has proven effective.” (Emphasis

   added).

             129.   On or about May 29, 2018, Mize wrote to Defendant Freda concerning winding

   down his business with CMS. Specifically, he proposed that the fees he (i.e., Mize) was paying to

   CMS be reduced as the number of cases dropped below certain benchmarks.




                                                    32
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 33 of 120 PageID# 2111




          130.    At or about the same time, additional RICO lawsuits were being filed against CMS

   and Ms. Johanson by consumers who had been brought into the Scheme. On or about June 20,

   2018, a plaintiff named Luke Harris sued Ms. Johanson and CMS for various civil claims,

   including alleged violations of the RICO statute. On or about July 11, 2018, in a similar complaint

   alleging violations of the RICO statute, a plaintiff named Kyle Leonard sued Ms. Johanson and

   CMS.

          131.    As Defendant Mize began to wind down his relationship with CMS just after the

   filing of those suits, tensions with CMS and its owner Defendant Freda escalated. In one email,

   Freda stated: “We had been very vocal about the Amanda [Johanson] issues and her challenges as

   far back as the first twelve months of operation with her. During that time we started with Amanda

   and then you were added because Amanda struggled to hold up to her end. So everyone is aware

   of what is going except the opposing plaintiff counsel – all why I take the abuse. All we do is

   answer the phones and handle emails for Oz, Rick [Graff,] the affiliates and the law firms including

   yourself.”

          132.    In an earlier email, Defendant Freda expressed his views on Defendant Mize’s role

   in the Scheme and explicitly referenced the Defendants’ common association-in-fact enterprise

   along with his preference not to discuss business through discoverable communications, stating:

          As it all started, I would earn ten percent to service ALL files which included yours
          and to completion and not some smaller amount of files once your files got to a low
          number of like 300 which you just recently as of months ago demanded that it be
          changed at around that 300 number – which of course benefits you entirely and no
          one else – especially Champion, my company. This was never our agreement back
          when Greg [Trimarche] and Rick [Graff] started all this back in the day which
          started with Johansson law firm and David Mize law firm “following”.

          In other words David, you also were a key player in the construction of this whole
          enterprise and still had and have much authority in building out additional layers of
          this enterprise even as current as present time. And now there is a Rico actions
          brought against the service center of Scott Freda at ten percent. Technically, the

                                                   33
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 34 of 120 PageID# 2112




          prosecution side only knows of Scott Freda and that’s fine by me. I am a big boy
          and I can be the voice for everyone and the target for everyone which I am doing
          right now, because no one else's f***ing balls are on the line right now like mine.
          So I assume that’s what everyone else wants because everyone else but Scott Freda
          never wanted or wants to communicate by email or text regarding business
          discussions regarding private and I have even messages as of years ago where this
          was the general rule of thumb of everyone else but Scott Freda and that’s ok for
          now. I have nothing to hide on my end from day one because champion marketing
          conducts service for everyone else and on behalf of the enterprise on a practical,
          fair, honest and ethical manner.”

          133.      Nonetheless, Defendant Freda continued to market his services. On August 29,

   2018, Freda blind-copied Defendant Graff on an email to Adam Owens at SLAC, Inc., 6 in which

   Freda pitched CMS’s services in the student loan space.

          134.      Similarly, GST and the Debt Counseling Defendants, in connection with the

   Attorney Defendants, continue to market and profit from the Scheme.

                                     Cases Exemplifying the Scheme

                                                    C.S.

          135.      C.S. lives in Missouri and is the borrower of a private student loan serviced by NSL.

          136.      C.S. retained the Mize Defendants in October 2015 after she learned of this law

   firm through an unsolicited flyer she received in the mail from “Student Processing Relief.” The

   flyer indicated that Student Processing Relief could assist C.S. in reducing or eliminating her

   student loans.

          137.      After C.S. provided documentation concerning her student loans to Student

   Processing Relief, it referred her to attorney David Mize and his law firm for her private student

   loan, and indicated that David Mize specialized in debt reduction matters.




   6
     Defendant Branch is the lead attorney for SLAC, Inc., in a lawsuit filed against SLAC, Inc., in
   the Central District of California, Gutierrez v. SLAC, Inc., No. 8:17-cv-01227 (C.D. Cal. filed July
   18, 2017). In that suit, plaintiff alleges various violations of the TCPA by SLAC, Inc.
                                                     34
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 35 of 120 PageID# 2113




          138.    However, instead of being directed to Defendant Mize personally, C.S. was in fact

   referred to various employees of CMS, including Terry Belser, Joel Knapp, and Perla Ortiz. C.S.

   was under the impression that CMS was a “servicing branch” that corresponded with clients of

   Defendant Mize.

          139.    On or about October 15, 2015, C.S. signed an attorney engagement agreement with

   the Mize Defendants, and agreed to pay a fixed fee for legal services in monthly installments of

   $311.71 for eighteen months, to be withdrawn automatically from her bank account. The amount

   of the fixed fee was exactly 40% of the amount owed on C.S.’s private student loan.

          140.    C.S. made payments to the Mize Defendants instead of NSL because she had been

   falsely told that the money paid to the Mize Defendants would be used to resolve her student loan

   debt to NSL.

          141.    On October 22, 2015, Terry Belser, an account manager at CMS, sent C.S. an e-

   mail with the subject line “Welcome Aboard! (David Mize Law Firm).” This e-mail requested

   C.S. begin gathering her loan documents to prepare her claim, and included a “Welcome Letter”

   from CMS Servicing Group, as well as a blank “Monthly Communication Log” template. The

   Welcome Letter advised C.S. to document all telephone calls on the template, and to send the log

   to CMS every week.

          142.    Terry Belser’s e-mail signature indicated the e-mail was from Terry Belser,

   “Account Manager, CMS – David Mize Law.” This communication was deceptive, and reinforced

   C.S.’s belief that CMS was a part of Defendant Mize’s law firm, even though CMS provided legal

   advice despite consisting of all non-attorneys.

          143.    Prior to retaining CMS and the Mize Defendants, C.S. had made regular monthly

   payments toward her student loan since 2012. But following the instructions provided by CMS,



                                                     35
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 36 of 120 PageID# 2114




   C.S. ceased making payments on her loan. C.S.’s final payment toward her student loan was made

   on September 24, 2015, and she failed to make her regularly scheduled payment in October 2015.

   Calls from NSL to attempt to cure the delinquency ensued.

          144.    On or about October 20, 2015, an employee of CMS, purporting to be Defendant

   Mize, sent a letter to NSL, requesting that NSL redirect future communications to him, falsely

   advising the debt was “disputed,” and demanding validation for the debt of C.S.’s student loan.

   The substance of the letter was materially false and incorrect: Defendant Mize in fact wanted calls

   to continue to C.S., did not genuinely dispute the debt, and had no purpose in obtaining

   “validation” of it. Instead, the purpose of Defendant Mize’s letter was to manufacture a TCPA

   claim against NSL. Additionally, the letter claimed that Defendant Mize also represented C.S.’s

   cosigner, M.C. This statement was false, as Defendant Mize had not been retained by M.C.

          145.    Starting in October 2015, per instructions from CMS, C.S. maintained a log tallying

   all calls she received from NSL, using the “Monthly Communication Log” template provided by

   CMS. C.S. dutifully sent the log to CMS on a regular basis by e-mail.

          146.    On May 31, 2016, C.S.’s private student loan defaulted.

          147.    Throughout this process, C.S. did not speak directly with Defendant Mize until

   2016. On April 13, 2016, Defendant Mize sent C.S. an e-mail asking to speak with her, and

   identifying the TCPA as “a great tool for our firm to use when attempting to settle [her] private

   student loan.” The April 13, 2016 e-mail further advised C.S. that his staff, and the staff of the

   Lohman Defendants, would be reaching out to her to discuss the TCPA.

          148.    Thereafter, C.S. began copying Attorney Lohman and the Lohman Defendants (at

   a specific e-mail address set up for correspondence, documents@jlgportal.com) on her e-mails to




                                                   36
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 37 of 120 PageID# 2115




   CMS, as well as providing copies of her updated “Monthly Communication Log,” including but

   not limited to: May 12, 2016, May 17, 2016, May 19, 2016, May 23, 2016, and May 27, 2016.

          149.    On November 8, 2016, non-Defendant attorney Ryan Lee of the Law Offices of

   Ryan Lee, PLLC, sent a copy of a draft complaint identifying C.S. to NSL, and inquired about the

   possibility of settling her claims for alleged TCPA violations.

          150.    On January 26, 2017, a demand for arbitration was submitted by Mr. Lee on behalf

   of C.S., alleging violations of the TCPA. Thereafter, Mr. Lee withdrew from representing C.S.,

   and the Lohman Defendants entered their appearance as counsel for C.S.

          151.    In her deposition on January 4, 2018, at which Defendant Muhtaseb was present,

   C.S. testified that either the Mize Defendants and/or CMS told her that it was not in her best interest

   to pick up the phone when NSL called her. An e-mail dated November 10, 2015, confirms that

   Terry Belser, a CMS employee, instructed her not to answer these calls. Mr. Belser’s instruction

   to C.S. furthered the Scheme because, without C.S. answering her phone, NSL would be forced to

   continue to call in an attempt to reach her.

          152.    Unbeknownst to NSL at the time, in an e-mail dated February 29, 2016, to a CMS

   employee, C.S. expressed doubt about the Scheme:




                                                     37
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 38 of 120 PageID# 2116




          153.    In an e-mail dated April 1, 2016, it was apparent that C.S.’s skepticism about the

   Scheme persisted:

          Evidently yesterday was the deadline for me to call Navient back to hear about
          options they could offer in potentially getting back on a regular payment plan with
          them. . .. Please let me know if there are ramifications of this that may occur to my
          credit report or to other parts of my livelihood now that they are pushing my file
          along to a debt collector.

          154.    Indeed, C.S. nearly elected to withdraw from the litigation process, and in

   November 2017, the Law Offices of Jeffrey Lohman, P.C. expressed to counsel for NSL that C.S.

   was considering dismissing her arbitration.

          155.    C.S.’s doubt about the Scheme was well-founded.           The Defendants’ illegal,

   fraudulent efforts to divert funds owed by C.S. to NSL injured both C.S. and NSL alike.



                                                   38
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 39 of 120 PageID# 2117




          156.    On the eve of her arbitration hearing, C.S. and NSL agreed to a settlement of her

   claims. Pursuant to this settlement, NSL was obligated to discharge over $17,000.00 of an

   otherwise valid debt, and suffered losses as a result of the Defendants’ Scheme.

                                                  D.D.

          157.    D.D. lives in Georgia and is the borrower of several federal and private student

   loans serviced by NSL.

          158.    In or around the end of 2015, D.D. first spoke to “Student Debt Doctor LLC,”

   (“SDD”) a company in Oakland Park, Florida, purporting to assist consumers in reducing or

   eliminating student loan debt, which eventually charged a fee for consolidating her federal student

   loans. In or around December 2, 2015, SDD then referred her to a related entity known as “Fidelity

   Debt Reserve LLC,” with the same business address and also controlled by the ownership of SDD,

   to assist D.D. in reducing or eliminating her private loans. Both SDD and Fidelity Debt Reserve

   LLC are no longer in business.

          159.    Specifically, on or about October 2, 2017, the Federal Trade Commission filed a

   Complaint for Permanent Injunction and Other Equitable Relief against Student Debt Doctor, LLC

   and Gary Brent White, Jr., in the United States District Court for the Southern District of Florida

   under Case Number 0:17-cv-61937-WPD.

          160.    The Complaint alleged, inter alia, that the Defendants had engaged in deceptive

   marketing and sale of student loan debt relief services in violation of the Federal Trade

   Commission Act, 15 U.S.C. § 53(b), and the Telemarketing and Consumer Fraud and Abuse

   Prevention Act, 15 U.S.C. §§ 6101–6108. Among other things, the FTC alleged that Defendants

   “promised to enroll consumers in student-loan-repayment programs to reduce or eliminate their




                                                   39
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 40 of 120 PageID# 2118




   payments and principal balances” and “instructed consumers not to contact, work with, make

   payments to, or respond to contacts from their loan servicers.”

          161.    On October 3, 2017, the United States District Court for the Southern District of

   Florida entered an Ex Parte Temporary Restraining Order against Defendants, and appointed a

   receiver, finding “good cause to believe that immediate and irreparable harm [would] result from

   Defendants’ ongoing violations of the FTC Act and the TSR . . ..”

          162.    Thereafter, the court-appointed receiver, Mr. Robert Carey, proceeded to

   implement the terms of the Temporary Restraining Order by locating and freezing assets of SDD

   and Mr. White, and issued various status reports following his appointment. Among other things,

   the receiver (with the assistance of local law enforcement) took possession and secured the

   physical premises of SDD at 3221 NW 10th Terrace, Oakland Park, Florida, and began inspecting

   the books and records therein. During this process, the receiver identified at least 83 employees

   present who marketed, advertised, and/or sold to consumers purported student loan debt relief

   services. The receiver also identified that SDD purchased and was actively operating at least 182

   telephone lines, and maintained a sophisticated database identifying nearly 30,000 potential

   consumer victims since 2014.

          163.    The court-appointed receiver also found sufficient grounds to expand the

   receivership to include other entities owned or operated by Defendants, including Fidelity Debt

   Reserve LLC. Specifically, on February 28, 2018, the receiver filed a motion to expand the

   receivership to include five additional entities and their assets. Among other things, the receiver

   found that Gary Brent White, Jr. owned and controlled Fidelity Debt Reserve LLC, which provided

   debt settlement services, and also operated out of the SDD physical premises.




                                                   40
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 41 of 120 PageID# 2119




            164.    In his most recent status report, filed on October 16, 2018, the court-appointed

   receiver maintained that “it is still my conclusion that Mr. White used [Student Debt Doctor LLC]

   and related entities he owned and/or controlled to operate deceptive student debt relief and other

   deceptive debt relief businesses to the detriment of consumers and to enrich himself personally

   and others.”

            165.    At some point in 2015, D.D. ceased making payments toward her student loans. At

   her deposition taken on August 28, 2018, D.D. testified that she was instructed to stop paying her

   student loans by SDD, and that “in order for them to help me with my private student loans, I

   needed to go into default.” On or about December 2, 2015, D.D. received an e-mail from “Whitney

   Wade” at Fidelity Debt Reserve, which stated – “I can put you in a debt settlement immediately .

   . . whether the account [sic] are current or not . . . you would discontinue paying your servicers

   and LET THE ACCOUNTS GO DELINQUENT!”

            166.    D.D. testified that she agreed to pay SDD $348 each month for three years via

   monthly debits from her bank account, and that she believed she had retained SDD in order to help

   her reduce her student loan payments. In an e-mail from October 21, 2015, Ms. Wade at Fidelity

   Debt Reserve LLC told D.D. that “Once the account [D.D.’s payments were being made to] has

   built up enough equity we will start negotiating the best settlement possible.” This statement was

   false.

            167.    At no point thereafter did SDD or Fidelity Debt Reserve LLC attempt to negotiate

   with NSL to settle the outstanding balance of D.D.’s student loans. Despite requiring D.D. to

   authorize a general power of attorney to Fidelity Debt Reserve LLC using a form prepared by

   Fidelity Debt Reserve LLC, neither SDD nor Fidelity Debt Reserve LLC ever contacted NSL on

   D.D.’s behalf.



                                                   41
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 42 of 120 PageID# 2120




           168.   Instead, Fidelity Debt Reserve LLC referred D.D. to the Lohman Defendants to

   manufacture a TCPA claim against NSL. In short time, D.D. signed a retainer agreement with the

   Lohman Defendants.

           169.   Following the instructions from SDD, D.D. ceased making payments on her loans

   in or around October 2015. Calls from NSL ensued when the loans became past due in January

   2016.

           170.   On or about January 19, 2016, D.D. spoke with an NSL call-center agent and stated

   that she wished for NSL to cease calling her cell phone. This statement was a lie. In fact,

   Defendants and D.D. wanted the calls to continue so that they could form the basis for a possible

   TCPA claim.

           171.   At her deposition taken on August 28, 2018, at which Defendant Dykes was

   present, D.D. admitted that she made the revocation call to NSL at the instruction of the Lohman

   Defendants, that the Lohman Defendants gave her instructions of what to say during that phone

   call, and that one of the Lohman Defendants recorded the January 19, 2016, telephone call.

           172.   D.D. also stated that she began tallying all calls received from NSL after this

   purported revocation at the Lohman Defendants’ instruction. She further testified that she was

   instructed by the Lohman Defendants not to answer any of the calls, and to not have any further

   contact with NSL.

           173.   In that same deposition, D.D. admits that she was told to stop paying NSL and

   needed to default in order to take advantage of the “program.”

           174.   On October 3, 2016, attorney Rory Leisinger of the law firm Leisinger Law, LLP,

   submitted a demand for arbitration on behalf of D.D., alleging violations of the TCPA. Thereafter,




                                                  42
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 43 of 120 PageID# 2121




   Mr. Leisinger withdrew from representing D.D., and the Lohman Defendants entered their

   appearance as counsel for D.D.

          175.    When Defendant Lohman was deposed on November 6, 2017, he testified that in

   2016, the Lohman Defendants were sending cases to Leisinger Law to “[litigate] the cases that our

   office produced.” The referral relationship subsequently terminated because Defendant Lohman

   concluded that he “make[s] more money when the in-house attorneys handle the cases.”

          176.    On the eve of her arbitration hearing, D.D. and NSL agreed to a settlement of her

   claims. Pursuant to this settlement, NSL was obligated to discharge over $31,000.00 of an

   otherwise valid debt, and suffered losses as a result of the Defendant’s Scheme.

                                                 E.A.

          177.    E.A. lives in Mexico and is the borrower of several student loans serviced by NSL.

          178.    In or around the beginning of March 2016, E.A. received an unsolicited flyer in the

   mail from an entity purportedly called Go2Finance. The flyer was captioned “Important Private

   Student Loan Reduction Benefits Prepared For [E.A.],” identified the total amount of E.A.’s

   outstanding student loan debt, and stated “you are now eligible to receive benefits from laws that

   may reduce your debt and in many cases total discharge of debt.”

          179.    E.A. called the toll-free number on the flyer and first spoke to someone named Ryan

   Smith at Go2Finance, who then referred her to Terry Belser, an employee of CMS. At her

   deposition on February 26, 2018, E.A. testified to her belief that “[s]omehow they’re all linked

   together.”

          180.    After several telephone communications with Mr. Belser in March 2016, he

   recommended and referred her to the Mize Defendants to obtain further assistance. Interestingly,

   while E.A. believed that Mr. Belser worked for Go2Finance, she received an e-mail from him on



                                                  43
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 44 of 120 PageID# 2122




   March 28, 2016 welcoming her to the “program,” but indicating that he actually worked for the

   Mize Defendants. Specifically, Terry Belser’s e-mail signature indicated that the e-mail was from

   “Account Manager, CMS – David Mize Law” and was sent from e-mail address

   “tbelser@jlgportal.com.” This e-mail included attachments, including a “Welcome Letter” from

   CMS Servicing Group, as well as a blank “Monthly Communication Log” template.

          181.    This communication was deceptive, and reinforced E.A.’s belief that Terry Belser

   and CMS were a part of Defendant Mize’s law firm. In response to an e-mail from E.A. asking

   “Who do you work for? Are you a part of David Mize’s law firm?” Terry Belser at CMS

   responded, “Yes I am your account manager per the voice mail I left you.”

          182.    On or about March 30, 2016, after five or six telephone communications with the

   Mize Defendants, E.A. signed a retainer agreement with the Mize Defendants.

          183.    Also on or about March 30, 2016, E.A. sent an e-mail to Terry Belser stating “I

   have spoken to all parties on my end as well as David Mize and I feel comfortable moving forward.

   . .. When speaking to David, he said there is a script you have that I can give to my

   grandmother/cosigner that she can tell the lenders to stop calling her. Do you have that script?”

          184.    Defendant Mize’s retainer agreement stated that he would charge E.A. a fixed fee

   of $39,312.88 for his services, representing 40% of the $98,282.20 in debt to be enrolled in the

   “program” – which included debts owed to NSL, as well as other creditors and servicers such as

   Discover, Great Lakes, Citi, and Capital One. However, at her February 26, 2018, deposition, at

   which Defendant Lohman was present, E.A. could not identify a single thing that the Mize

   Defendants had done for her, except refer her to the Lohman Defendants.




                                                   44
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 45 of 120 PageID# 2123




           185.    Upon information and belief, E.A. made payments to the Mize Defendants instead

   of NSL because she had been falsely told that the money paid to the Mize Defendants would be

   used to resolve her debt to NSL.

           186.    Upon information and belief, Defendant Mize explained to E.A. some options to

   enhance her settlement position, including an option to deliberately default on her student loans.

           187.    Prior to retaining CMS and the Mize Defendants, E.A. had made regular monthly

   payments toward her student loans since 2009. But following the instructions provided by CMS

   and Defendant Mize, E.A. ceased making payments on her loan. E.A.’s final payment toward her

   student loans was made on April 12, 2016, and she failed to make her regularly scheduled payment

   in May 2016. Calls from NSL in an attempt to cure the delinquency ensued.

           188.    Eventually, and even months before she purported to revoke her consent to receive

   calls from NSL, E.A. became aware that the purpose of the Scheme and her call logs was to create

   a TCPA violation. In an e-mail to Terry Belser on April 12, 2016, E.A. inquired about the potential

   consequences for her co-signer, “[i]f I am not supposed to pay the loans in order for the lenders to

   keep calling me.” E.A. further inquired whether her cosigner should switch banks to avoid

   potential bank levies by a creditor, after she took the future action of stopping payments toward

   all of her loans.

           189.    Before she decided to stop making payments toward her NSL loans, E.A. spoke to

   her grandmother, E.H., who was a co-signer on the loans, to inform E.H. that she would be

   receiving collection calls from NSL because E.H.’s land line was not covered by the TCPA.

           190.    When her NSL account became past due/delinquent, E.A. began receiving calls

   from NSL. When E.A. informed the Mize Defendants of these calls, they referred her to the

   Lohman Defendants, who described to her the TCPA Scheme.                Specifically, the Lohman



                                                   45
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 46 of 120 PageID# 2124




   Defendants informed her of the possible statutory damages under the TCPA, so she knew that each

   call after the revocation could result in $500 in statutory damages or more.

          191.    E.A. was led to believe by CMS and the Mize Defendants that a letter had been sent

   on her behalf to NSL, when in fact, no such letter had been sent. As a result, the Lohman

   Defendants set out to create a “revocation” for E.A.

          192.    Prior to retaining the Lohman Defendants, she was coached by either Defendant

   Lohman or Defendant Muhtaseb on how to revoke TCPA consent from NSL via a telephone call.

          193.    On or about June 22, 2016, E.A. spoke with an NSL call-center agent and stated

   that she wished for NSL to cease calling her on her cell phone. This statement was a lie. In fact,

   Defendants and E.A. wanted the calls to continue so that they could form the basis of a possible

   TCPA claim. During her deposition, E.A. testified that Defendant Lohman was on the revocation

   call with E.A. and NSL, even though E.A. had not yet retained him, and the call was recorded by

   the Lohman Defendants without NSL’s knowledge or consent, in violation of applicable state laws.

          194.    After June 22, 2016, following the instruction of the Lohman Defendants, E.A.

   maintained a log tallying all calls she received from NSL and her other creditors. E.A. dutifully

   sent the log to the Lohman Defendants on a monthly basis by e-mail.

          195.    On or about July 19, 2016, E.A. officially retained the Lohman Defendants.

          196.    On or about May 25, 2017, a lawyer with the Georgia law firm Wakhisi-Douglas,

   LLC, filed a federal court action purportedly on E.A.’s behalf. During her deposition, however,

   E.A. stated that she had no knowledge of the federal court action or of the law firm that filed suit

   on her behalf. Further, she stated that she had never spoken to anyone at that law firm.

          197.    On or about July 19, 2017, Defendant Muhtaseb filed an arbitration demand against

   NSL purportedly on E.A.’s behalf. E.A., however, stated in her deposition that she did not know



                                                   46
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 47 of 120 PageID# 2125




   that an arbitration demand had been filed on her behalf. She also stated that she did not know that

   NSL had filed a $25,000 counterclaim against her.

          198.    In her deposition on February 26, 2018, at which Defendant Lohman was present,

   E.A. testified that she did not answer any of the calls from NSL, but did not recall whether she had

   been advised not to answer any of the calls. However, she admitted that she knew each phone call

   was a potential $500 to add to her future TCPA claim.

          199.    On the eve of her arbitration hearing, E.A. and NSL agreed to a settlement of her

   claims. Pursuant to this settlement, NSL was required to pay a cash settlement of $75,000.00 and

   discharge over $26,000.00 of an otherwise valid debt, suffering losses as a result of the Defendants’

   Scheme.

          200.    During her deposition, E.A. even expressed further interest in continued

   participation in the Scheme. She expressed her intention to retain the Lohman Firm to sue her

   other creditors and servicers, Great Lakes, Discover, and Citi. When asked about her lawsuit

   against NSL, she stated she had not yet sued the others, because NSL was a test case – “lucky

   number one.”

                                             Shanna Helvey

          201.    Shanna Helvey lives in Indiana and is a borrower of at least one student loan

   serviced by NSL.

          202.    In February 2017, Defendant Lohman sent a threat in the form of a draft complaint

   to NSL on Ms. Helvey’s behalf.

          203.    Acting through local counsel, Andrew K. Homan, the Lohman Defendants filed a

   complaint against NSL alleging violations of the TCPA on behalf of Ms. Helvey in the U.S.




                                                    47
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 48 of 120 PageID# 2126




   District Court for the Northern District of Indiana captioned Shanna Helvey v. Navient Solutions,

   LLC, Case No. 1:17-cv-00186-WCL-SLC.

          204.    On June 14, 2017, Defendant Muhtaseb filed a Notice of Appearance on behalf of

   Ms. Helvey.

          205.    In April 2018, Ms. Helvey contacted NSL to inquire as to why her loan was past

   due when she had instructed NSL to directly debit her loan payments from her bank account.

          206.    Because it had received a litigation threat, NSL’s call-taker informed Ms. Helvey

   that the call-taker was not permitted to speak with her because the case was in litigation status and

   that Ms. Helvey would need to speak with her lawyer.

          207.    During that call, Ms. Helvey insisted that she did not have a lawyer and asked

   NSL’s call-center agent if she could tell her who her lawyer was. Ms. Helvey subsequently

   confirmed that she had never heard of Mr. Hohman, Defendant Muhtaseb, or Defendant Law

   Offices of Jeffrey Lohman.

          208.    Notwithstanding Ms. Helvey’s statement that she did not have a lawyer, Defendant

   Muhtaseb pursued the litigation on her behalf from April 2017 until voluntarily dismissing the

   lawsuit in July 2017, claiming that Ms. Helvey had ceased communicating with him.

          209.    Upon information and belief, neither the Lohman Defendants nor Mr. Hohman ever

   consulted with Ms. Helvey or entered into an attorney-client relationship with Ms. Helvey before

   purporting to file a lawsuit on her behalf.

          210.    Defendants’ filing and pursuit of a complaint against NSL without Ms. Helvey’s

   knowledge or permission constituted an act of fraud against NSL in furtherance of the Scheme

   because they falsely purported to act on her behalf against NSL.




                                                    48
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 49 of 120 PageID# 2127




                                                  L.L.

          211.    L.L. lives in California and is the borrower of two private student loans serviced by

   NSL.

          212.    L.L. stated in his December 8, 2017 deposition, at which Defendant Muhtaseb was

   present, that he received either a call or a flyer from the Mize Defendants regarding their student

   loan debt reduction services in or around March 2016.

          213.    In or around April 2016, L.L. retained the Mize Defendants to lessen or eliminate

   the debt owed to NSL. The Mize Defendants instructed L.L. to stop making payments on his

   student loan debt.

          214.    In return, L.L. agreed to pay the Mize Defendants monthly payments of $130–150

   per month.

          215.    L.L. made payments to the Mize Defendants instead of NSL because he had been

   falsely told that the money paid to the Mize Defendants would be used to resolve his debt to NSL.

          216.    At the Mize Defendants’ instruction, L.L. ceased making payments on his loans in

   or around July 2016. Calls from NSL ensued.

          217.    The Mize Defendants also instructed L.L. to call NSL and revoke his consent for

   NSL to contact him on his cell phone. Accordingly, on or about June 1, 2016, L.L. spoke to an

   NSL call-center agent and stated that he wished for NSL to stop calling him on his cell phone.

   This statement was a lie. In fact, Defendants and L.L. wanted the calls to continue so that they

   could form the basis of a possible TCPA claim.

          218.    The Mize Defendants instructed L.L. to not pick up any calls from NSL after he

   had revoked his consent in order to inflate the call count and to avoid the possibility of L.L. re-

   giving consent or resolving the delinquency. The Mize Defendants explained to L.L. that any call



                                                    49
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 50 of 120 PageID# 2128




   from NSL after he revoked consent would be “a violation” and would help him in negotiating

   down his debt to NSL.

          219.    Per the Mize Defendants’ instruction, L.L. tallied each call he received from NSL.

   Upon information and belief, he did not answer any other calls from NSL after he revoked consent.

   Further, per the Mize Defendants’ instruction, L.L. submitted his logs of tallied calls to the Mize

   Defendants.

          220.    Subsequently, L.L. terminated the Mize Defendants’ representation because he was

   dissatisfied with their services. On or about November 11, 2016, L.L. attempted to negotiate his

   student loan debt directly with NSL.

          221.    A month earlier, however, on or about October 17, 2016, an attorney by the name

   of Ryan Leisinger of Leisinger Law LLP, based in Los Angeles County, California, filed an

   arbitration demand against NSL purportedly on L.L.’s behalf.

          222.    During his December 8, 2017, deposition, L.L. testified that he first learned of the

   arbitration when the Lohman Defendants called him and e-mailed him regarding his notice of

   deposition at the end of November 2017.

          223.    Further, L.L. testified that this contact at the end of November 2017 was the first

   time he learned of the Lohman Defendants and that they purportedly represented him. L.L. also

   testified that he does not know who Ryan Leisinger is.

          224.    Defendant Muhtaseb sent to NSL responses to NSL’s requests for production of

   documents purportedly on L.L.’s behalf and with L.L.’s assistance.          This was a material

   misrepresentation.




                                                   50
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 51 of 120 PageID# 2129




          225.    During his December 8, 2017, deposition L.L. testified that he only ever sent call

   logs to his attorneys and was never asked to produce anything in response to NSL’s discovery

   requests.

          226.    In L.L.’s case, then, not only did the Defendants file a legal proceeding without the

   consumer’s knowledge, but they also falsely certified discovery submissions claiming a

   representation that never existed.

          227.    In or around January 2018, NSL paid L.L. $10,000 and provided him with a debt

   waiver for certain of his student loans in the approximate amount of $35,000 in settlement of his

   TCPA claims.

                                                  J.S.

          228.    J.S. lives in Texas and is a co-signer of two student loans serviced by NSL.

          229.    On or about April 14, 2016, A.S., J.S.’s father and the primary signatory on the two

   student loans for which J.S. was a co-signer, executed an attorney engagement agreement with the

   Mize Defendants. This process was facilitated by employees of CMS. Pursuant to this agreement,

   A.S. began paying monthly installments of $311.36 to the Mize Defendants.

          230.    A.S. made payments to the Mize Defendants instead of NSL because he had been

   falsely told that the money paid to the Mize Defendants would be used to resolve his debt to NSL.

          231.    Soon after A.S. executed the attorney engagement agreement with the Mize

   Defendants, he relayed to J.S. that Defendant Mize had instructed them to stop paying on the debts

   owed to NSL. Instead, A.S. advised J.S. to pay him instead, and A.S. began remitting the above-

   mentioned payments to the Mize Defendants.

          232.    Prior to retaining CMS and the Mize Defendants, J.S. and A.S. had made regular

   monthly payments toward their student loans since 2006. At the Mize Defendants’ instruction,



                                                   51
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 52 of 120 PageID# 2130




   J.S. and A.S. ceased making payments on their loans. J.S. and A.S.’s final payment toward their

   loans was made on April 3, 2016. Calls from NSL in an attempt to cure the delinquency ensued.

          233.    On or about June 1, 2016, a letter that purported to be from the Mize Defendants

   was sent to NSL on behalf of J.S. requesting that NSL redirect communications to them, advising

   the debt was “disputed,” and demanding validation for J.S.’s debt. The fax cover sheet for this

   letter shows it was actually sent by Debbie Hepler, an employee of CMS.

      234.        The substance of the letter was materially false and incorrect: the Mize Defendants

   in fact wanted calls to continue to J.S. and A.S., the debt was not genuinely disputed, and the Mize

   Defendants had no desire to obtain “validation” of the debt. Instead, the purpose of the letter was

   to manufacture a TCPA claim against NSL.

      235.        Although the June 1, 2016 letter indicated that Defendant Mize represented both

   A.S. and J.S., this statement was materially false and incorrect, as discussed further below.

   Additionally, the letter failed to contain a signed authorization on behalf of J.S. Realizing that

   they could not manufacture a TCPA claim without a revocation request from J.S., the Lohman

   Defendants contacted him directly.

          236.    On or about December 8, 2016, on the Lohman Defendants’ instruction, J.S. spoke

   with an NSL call-center agent and stated that he wished for NSL to cease contacting him on his

   cell phone. This statement was a lie. In fact, Defendants and J.S. wanted the calls to continue so

   that they could form the basis of a possible TCPA claim, the only “debt relief” strategy employed

   by the Defendants in his case.

          237.    J.S. admitted that he received no additional calls after this request.

          238.    On January 31, 2017, J.S. and A.S.’s private student loans defaulted.




                                                    52
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 53 of 120 PageID# 2131




             239.   Nonetheless, on February 15, 2017, Defendant Branch filed an arbitration demand

   purportedly on J.S.’s behalf.

             240.   On or about August 1, 2017, Defendant Branch sent to NSL’s counsel witness

   disclosures purportedly on J.S.’s behalf. On or about that same day, Defendant Branch sent to

   NSL’s counsel amended witness disclosures purportedly on J.S.’s behalf.

             241.   On or about August 16, 2017, Defendant Branch sent to NSL’s counsel a response

   to NSL’s first set of requests for production of documents purportedly on J.S.’s behalf. Then, on

   or about September 15, 2017, Defendant Branch filed an amended arbitration demand purportedly

   on J.S.’s behalf.

             242.   J.S. testified at his deposition on December 22, 2017, however, that he never

   authorized Defendant Mize to act on his behalf, nor did he consider Defendant Mize to be his

   attorney. J.S. also testified that he never authorized Defendant Mize to send a letter requesting

   NSL to stop contacting him, and that he had never spoken with anyone at Defendant Mize’s law

   office.

             243.   In spite of J.S.’s deposition testimony, the Lohman Defendants continued to litigate

   the lawsuit, even though the sole basis for J.S.’s legal claim against NSL was a letter from an

   attorney to whom he had never spoken, and whom J.S. did not consider to be his attorney.

             244.   The Lohman Defendants’ repeated filings and arbitration submissions defrauded

   NSL by stating they represented J.S. when in fact they did not.

             245.   On the eve of his arbitration hearing, J.S. and NSL agreed to a settlement of his

   claims. Pursuant to this settlement, NSL was required to pay a cash settlement of $15,000.00 and

   discharge over $63,000.00 of an otherwise valid debt, suffering losses as a result of the Defendants’

   Scheme.



                                                     53
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 54 of 120 PageID# 2132




                                                  K.W.

          246.      K.W. lives in Texas and is the borrower of two student loans serviced by NSL.

          247.      On or about June 26, 2016, K.W. stopped making payments on his NSL-serviced

   student loans.

          248.      At some point in the first half of 2016, K.W. received automated telephone calls

   from a company called DocuPrep offering to help him consolidate his federal student loan debt.

          249.      K.W. contacted DocuPrep and the representative with whom he spoke referred him

   to the Mize Defendants for assistance in lowering or eliminating his private student loan debt.

          250.      On or about July 14, 2016, K.W. signed an attorney engagement agreement with

   the Mize Defendants.

          251.      As part of this agreement, K.W. agreed to pay the Mize Defendants monthly

   payments of approximately $445.

          252.      K.W.’s monthly payments to the Mize Defendants were greater than his monthly

   payments on his NSL-serviced student loans.

          253.      K.W. made payments to the Mize Defendants instead of NSL because he had been

   falsely told that the money paid to the Mize Defendants would be used to resolve his debt to NSL.

   In fact, the Mize Defendants never made any effort to contact NSL to negotiate K.W.’s debt. That

   is because their only “debt reduction plan” was to manufacture K.W.’s TCPA claim.

          254.      On or about July 27, 2016, in response to a request from K.W., NSL sent to K.W.

   copies of his loan applications and promissory notes for his student loans serviced by NSL.

          255.      The Mize Defendants subsequently referred the matter to the Lohman Defendants

   to manufacture a TCPA claim.




                                                   54
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 55 of 120 PageID# 2133




          256.    On or about March 23, 2017, in an e-mail to Law Offices of Jeffrey Lohman

   employee Dave Abeling, K.W. consented to representation by the Lohman Defendants.

          257.    Following K.W.’s retention of the Lohman Defendants, an employee of Law

   Offices of Jeffrey Lohman called K.W. and told him to call NSL while he/she was on the phone.

   That employee further instructed K.W. to revoke his consent for NSL to contact him on his cell

   phone during the call. Finally, the employee instructed K.W. to covertly record his call to NSL.

          258.   K.W. called NSL and stated that he wished for NSL to no longer contact him on his

   cell phone. This statement was a lie. In fact, Defendants and K.W. wanted the calls to continue

   so that they could form the basis for a possible TCPA claim, the only “debt relief” strategy

   employed by the Defendants in his case.

          259.    Moreover, in this call, K.W. talked over the NSL representative and either he or an

   employee of the Lohman Defendants abruptly and purposefully hung up the call before the NSL

   representative could understand K.W.’s request. Given NSL’s confusion, NSL continued to try to

   reach K.W. The Lohman Defendants advised K.W. not to answer any calls but rather to tally them

   until K.W.’s loans defaulted and the phone calls ceased.

          260.    On or about July 1, 2017, after the phone calls from NSL were exhausted,

   Defendant Muhtaseb filed an arbitration demand against NSL purportedly on K.W.’s behalf.

          261.    On or about February 1, 2018, Defendant Dykes sent to NSL responses to NSL’s

   request for production of documents purportedly on K.W.’s behalf and with K.W.’s assistance.

          262.    However, in his February 12, 2018 deposition, at which Defendant Dykes was

   present, K.W. testified that he never spoke to the Lohman Defendants about NSL’s request for

   production of documents.




                                                  55
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 56 of 120 PageID# 2134




          263.    On or about March 30, 2018, Defendant Dykes filed an amended arbitration

   demand against NSL purportedly on K.W.’s behalf.

          264.    A few days before the arbitration hearing, the parties agreed to a settlement of

   K.W.’s claim. Pursuant to this settlement, NSL was required to pay a cash settlement of

   $35,000.00 and discharge over $11,000.00 of an otherwise valid debt, suffering losses as a result

   of the Defendants’ Scheme.

                                                  A.C.

          265.    A.C. lives in Arizona and is the borrower of several student loans serviced by NSL.

          266.    On or about April 7, 2016, A.C. received a flyer in the mail from CDC advertising

   student loan consolidation and debt reduction that she believed was from the federal government.

   The flyer purported to be from the “Student Loan Assistance Department” and prominently

   displayed the misleading statement, “New Laws Discounting Federal Student Loans.”

          267.    A.C. testified that she believed the flyer “came from the government,” and that she

   understood herself to be “calling a government agency.”

          268.    Soon after receiving the flyer, A.C. contacted the number listed on the flyer and

   was referred to the Mize Defendants who stated that they could assist her in lowering or eliminating

   her private student loan debt.

          269.    On or about April 14, 2016, A.C. retained the Mize Defendants and executed an

   attorney engagement agreement with the Mize Defendants. Pursuant to this agreement, A.C. began

   paying monthly installments of $309.53 to the Mize Defendants.

          270.    A.C. made payments to the Mize Defendants instead of NSL.

          271.    On or about April 18, 2016, at the Mize Defendants’ instruction, A.C. stopped

   making her student loan payments to NSL.



                                                   56
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 57 of 120 PageID# 2135




          272.    On or about May 16, 2016, although she had never received a single telephone call

   from NSL, A.C., following instructions from CMS, spoke with an NSL call-center agent and

   requested that NSL cease contacting her cell phone. One of the Defendants recorded this call.

          273.    Following that date, A.C., again followed instructions from CMS, and tallied each

   subsequent call that she purportedly received from NSL.

          274.    A.C. testified that she had not been receiving calls from NSL in April 2016, when

   she first retained the Mize Defendants. A.C. further testified that she made the request that NSL

   stop calling her before she had received any telephone calls, and that she had done so at the

   instruction of the Mize Defendants.

          275.    On or about January 24, 2017, the Defendant Branch filed an arbitration demand

   against NSL, purportedly on A.C.’s behalf.

          276.    However, in A.C.’s deposition on August 18, 2017, at which Defendant Branch was

   present, she testified that she never decided to file the arbitration demand and had never given

   authorization to the Lohman Defendants to file on her behalf.

          277.    Despite believing that she had signed up for a debt relief program, Defendants in

   fact conspired to file a lawsuit on her behalf without her knowledge in order to defraud NSL.

          278.    In or about January 2018, A.C. and NSL agreed to a settlement of her claims.

   Pursuant to this settlement, NSL paid $65,000 to settle this matter.

                            Further Allegations of Racketeering Activity

          279.    As set forth above, Defendants have conspired to engage and have engaged in a

   pattern of racketeering activity for the purpose of fraudulently extracting settlements from NSL

   and conducting costly litigation against NSL through fraud.




                                                   57
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 58 of 120 PageID# 2136




           280.    The “debt counseling” companies that recruited consumers into the Scheme,

   including CMS and the Affiliates, made numerous false and misleading statements to consumers

   through the mails in order to recruit consumers into the Scheme. These misleading statements

   include designing the flyer’s language and appearance to make consumers believe the flyers had

   been sent by the United States government.

           281.    Consumers reasonably relied on statements made by these “debt counseling”

   companies, including CMS and the Affiliates, because they had no reason to believe that these

   companies would be lying about their ability to assist consumers with their student loan debt.

           282.    The Attorney Defendants made numerous fraudulent and false statements through

   the mails in letters sent via the USPS to NSL purportedly on behalf of the Scheme’s clients. For

   instance, and as detailed above, the Attorney Defendants submitted various letters, filings, and

   discovery responses on behalf of “clients” when either no such representation existed or the

   Defendants were acting without their clients’ consent.        Further, letters from the Attorney

   Defendants stated that the consumers disputed their debts in instances when the consumers did not

   actually dispute the debts, but rather sought to reduce or eliminate them.

           283.    NSL reasonably relied upon the Attorney Defendants’ misrepresentations because

   it had no reason to believe that the Attorney Defendants would be lying about their representation

   of clients or about their intentions.

           284.    The “debt counseling” companies that recruited consumers into the Scheme,

   including CMS and the Affiliates, made numerous false and misleading statements to consumers

   via telephone in order to recruit consumers into the Scheme. For example, these companies,

   including CMS and the Affiliates, told consumers that their participation in the Scheme was

   completely legal and that they would be better off adhering to the Scheme when in fact consumers



                                                   58
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 59 of 120 PageID# 2137




   were unwittingly (and sometimes wittingly) perpetuating a fraud and would be worse off in the

   long run, as measured by overall debt owed and by public credit scores.

          285.    Consumers reasonably relied on statements made by these “debt counseling”

   companies, including CMS and the Affiliates, because they had no reason to believe that these

   “debt counseling” companies, including CMS and the Affiliates, would be lying about their ability

   to assist consumers with student loan debt.

          286.    To further conceal their Scheme, the Mize Defendants, the Affiliates, and GST

   would sometimes issue refunds to customers that raised complaints that nothing was being done

   on their behalf or who complained after their credit was harmed in contradiction to representations

   from the Affiliates.

          287.    The Attorney Defendants made numerous fraudulent and false statements to NSL

   through the wires, primarily in communications and other legal papers submitted to NSL through

   electronic mail. Specifically, the Attorney Defendants represented in pleadings and filings with

   arbitrators and in federal courts that their TCPA claims were well-founded, that clients wished to

   have communication from NSL cease, that consumers wished to negotiate disputed debts, that the

   representations of clients were real, and that clients had assisted in responding to discovery.

          288.    The Attorney Defendants also directed their clients, and in many instances, directly

   participated in attempts, to falsely represent to NSL in telephone calls through the wires that they

   wished calls to cease. Further, the Attorney Defendants instructed clients not to pick up the phone

   when NSL called so that NSL would continue to call the consumer in an effort to resolve the debt.

          289.    NSL reasonably relied upon the Attorney Defendants’ misrepresentations because

   it had no reason to believe that the Attorney Defendants, as officers of the court, would be lying




                                                    59
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 60 of 120 PageID# 2138




   about, among other things, their representation of clients, their desire to negotiate disputed debts,

   or that consumers would lie about their desire to not be contacted by NSL.

          290.    Both    consumers    and    NSL    acted   in   reasonable    reliance   upon   these

   misrepresentations and did not initially suspect the existence of the Scheme.

          291.    As a proximate result of the misrepresentations by “debt counseling” companies,

   including CMS and the Affiliates, consumers were recruited into the Scheme whose desires to

   lessen or eliminate student loan debt would be morphed into TCPA claims by the Attorney

   Defendants. The Debt Counseling Defendants all orchestrated and benefited from the Scheme,

   and continue to benefit today.

          292.    As a proximate result of the Attorney Defendants’ misrepresentations, NSL was

   deprived of the opportunity to raise colorable defenses and adjudicators were deprived of

   information necessary to render a fully informed decision.

          293.    NSL also has been damaged as a result of the Defendants’ fraud and

   misrepresentations to the various consumers involved. As a result of consumers’ reliance on

   misrepresentations by “debt counseling” companies, including CMS and the Affiliates, NSL

   suffered real and significant damages in the form of monetary damages awarded against it and

   settlement costs, as well as attorneys’ fees incurred as a result of the Scheme and the concealment

   thereof.

                                   FIRST CAUSE OF ACTION
           Claim Against All Defendants Except GST, Trimarche, Graff, and Sievers Under
         Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c)

          294.    NSL repeats and incorporates by reference paragraphs 1–293 of the Complaint.

          295.    NSL is a “person” within the meaning of 18 U.S.C. § 1964(c).

          296.    Defendants are “persons” within the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).



                                                    60
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 61 of 120 PageID# 2139




           297.      Defendants operate as an association in fact that is an “enterprise” within the

   meaning of 18 U.S.C. §§ 1961(4) and 1962(c), which enterprise has, at all relevant times, been

   engaged in activities to carry out the Scheme that are in and affect interstate commerce.

           298.      At all relevant times, Defendants Lohman, Branch, Dykes, and Muhtaseb have been

   employed by or associated with the Law Offices of Jeffrey Lohman.

           299.      At all relevant times, Defendant Mize has been employed by or associated with

   David Mize Law.

           300.      At all relevant times, Defendant Freda has been employed by or associated with

   CMS.

           301.      At all relevant times, Defendants Marshal and Kashto have been employed by or

   associated with Go2Finance and DocuPrep.

           302.      At all relevant times, Defendant Carlson has been employed by or associated with

   the Affiliates.

           303.      At all relevant times, Defendant Sklar has been employed by or associated with

   DocuPrep.

           304.      At all relevant times, Defendant Sklar has been employed by or associated with

   Student Processing Relief.

           305.      Defendants Freda, Marshal, Kashto, Carlson, Sklar, and Sabri engaged in a pattern

   of racketeering activity within the meaning of §§ 1961(1)(B), 1961(5), and 1962(c), namely the

   Scheme as described more fully above and including multiple related instances of mail fraud in

   violation of 18 U.S.C. § 1341. Specifically, Defendants Freda, Marshal, Kashto, Carlson, Sklar,

   and Sabri, directly or through their affiliate marketing companies, sent fraudulent mailings to

   consumers that misrepresented the nature of the Affiliates’ services and misleadingly appeared to



                                                    61
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 62 of 120 PageID# 2140




   be from the federal government in order to recruit these consumers into the Scheme. Similarly,

   the Defendants Freda, Marshal, Kashto, Carlson, Sklar, and Sabri, directly or through their affiliate

   marketing companies, misled consumers through false statements as the scope, efficacy, and risk

   entailed in the program offered to the consumers.

           306.   In furtherance of the fraudulent Scheme, Defendants Freda, Marshal, Kashto,

   Carlson, Sklar, and Sabri utilized the resources of their respective debt counseling companies and

   Affiliates to carry out the pattern of racketeering activity in furtherance of the Scheme.

           307.   Defendants Lohman, Branch, Dykes, and Muhtaseb have participated in the affairs

   of the Law Offices of Jeffrey Lohman, Defendant Mize has participated in the affairs of David

   Mize Law through a pattern of racketeering activity within the meaning of §§ 1961(1)(B), 1961(5),

   and 1962(c), namely the Scheme as described more fully above and including multiple related

   instances of mail fraud in violation of 18 U.S.C. § 1341. Specifically, Defendants Lohman,

   Branch, Dykes, Muhtaseb and Mize have sent various demand letters to NSL on behalf of “clients”

   whom they did not actually represent; sent letters to NSL in which they stated an intent to negotiate

   their client’s debt with NSL, when in truth they had no such intention; and sent letters in which

   they stated they were “looking to verify” a disputed debt when no valid basis to dispute the debt

   existed. In addition, upon information and belief, the Defendants counseled their clients to provide

   false testimony in depositions, which constitutes witness tampering in violation of 18 U.S.C. §

   1512.

           308.   In furtherance of the fraudulent Scheme, Defendants Lohman, Branch, Dykes, and

   Muhtaseb utilized the resources of Law Offices of Jeffrey Lohman, and Defendant Mize has used

   the resources of David Mize Law to carry out the pattern of racketeering activity in furtherance of

   the Scheme.



                                                    62
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 63 of 120 PageID# 2141




          309.    The Defendants’ association had a formal organizational structure, which included

   an automatic billing system, common access to a CRM software system, communications with

   clients through email, telephone, and standardized attorney-client retainer agreements.

          310.    The Defendants operated the Scheme over the course of years and in multiple states.

          311.    By reason of the violation of 18 U.S.C. § 1962(c) committed by Defendants through

   this pattern of racketeering activity in furtherance of the Scheme, including the multiple related

   instances of mail fraud described above, NSL was injured within the meaning of 18 U.S.C. §

   1964(c) in an as-yet-undetermined amount to be proved at trial.

          312.    By reason of Defendants’ violations as specified above, NSL is entitled to three

   times its actual damages pursuant to 18 U.S.C. § 1964, with interest from the date of loss and

   reasonable attorneys’ fees.

                                 SECOND CAUSE OF ACTION
                                Claim Against All Defendants Under
         Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c)

          313.    NSL repeats and incorporates by reference paragraphs 1–312 of the Complaint.

          314.    NSL is a “person” within the meaning of 18 U.S.C. § 1964(c).

          315.    Defendants are “persons” within the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).

          316.    Defendants have formed an association in fact that is an “enterprise” within the

   meaning of 18 U.S.C. §1961(4), which enterprise has, at all relevant times, been engaged in

   activities that are in and affect interstate commerce in carrying out the Scheme.

          317.    At all relevant times, Defendants Lohman, Branch, Dykes, and Muhtaseb has been

   employed by or associated with the Law Offices of Jeffrey Lohman. Defendant Lohman has

   principally directed the Law Offices of Jeffrey Lohman’s affairs.




                                                   63
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 64 of 120 PageID# 2142




           318.      At all relevant times, Defendant Mize has been employed by or associated with

   David Mize Law. Defendant Mize has principally directed David Mize Law’s affairs.

           319.      At all relevant times, Defendant Freda has been employed by or associated with

   CMS.

           320.      At all relevant times, Defendants Trimarche, Graff, and Sievers have been

   employed by or associated with GST.

           321.      At all relevant times, Defendants Marshal and Kashto have been employed by or

   associated with Go2Finance and DocuPrep.

           322.      At all relevant times, Defendant Carlson has been employed by or associated with

   the Affiliates.

           323.      At all relevant times, Defendant Sklar has been employed by or associated with

   DocuPrep.

           324.      At all relevant times, Defendant Sklar has been employed by or associated with

   Student Processing Relief.

           325.      Defendants Freda, Trimarche, Graff, Sievers, Marshal, Kashto, Carlson, Sklar, and

   Sabri have engaged in a pattern of racketeering activity within the meaning of §§ 1961(1)(B),

   1961(5), and 1962(c), namely and as described more fully above, multiple related instances of wire

   fraud in violation of 18 U.S.C. § 1343. Specifically, in order to recruit consumers into the Scheme,

   Defendants Freda, Trimarche, Graff, Sievers, Marshal, Kashto, Carlson, Sklar, and Sabri, directly

   or through their affiliate marketing companies, engaged in email and telephone communication

   with consumers in which Defendants Freda, Trimarche, Graff, Sievers, Marshal, Kashto, Carlson,

   Sklar, and Sabri, directly or through their affiliate marketing companies, misrepresented the nature

   of their services and misleadingly stated that they would negotiate with NSL regarding consumers’



                                                    64
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 65 of 120 PageID# 2143




   private student loans, that the program was 100% effective, and that the consumers’ credit would

   not be harmed.

           326.     In furtherance of the fraudulent Scheme, Defendants Freda, Trimarche, Graff,

   Sievers, Marshal, Kashto, Carlson, Sklar, and Sabri utilized the resources of their respective debt

   counseling companies and Affiliates to carry out the pattern of racketeering activity in furtherance

   of the Scheme.

           327.     Defendants GST, Trimarche, Graff, Sievers have engaged in a pattern of

   racketeering activity within the meaning of §§ 1961(1)(B), 1961(5), and 1962(c), namely and as

   described more fully above, multiple related instances of wire fraud in violation of 18 U.S.C. §

   1343.     Specifically, Defendants Trimarche, Graff, and Sievers, directly or through GST,

   participated in the Scheme by (i) connecting the attorneys with the affiliate marketers and (ii) by

   sweeping the payments from the enrolled borrowers and distributing the funds through the wires

   among the Debt Counseling Defendants, itself, and the Attorney Defendants.

           328.     In furtherance of the fraudulent Scheme, Defendants Trimarche, Graff, and Sievers,

   utilized the resources of GST to carry out the pattern of racketeering activity in furtherance of the

   Scheme.

           329.     Defendants Lohman, Branch, Dykes, and Muhtaseb have participated in the affairs

   of the Law Offices of Jeffrey Lohman, and Defendant Mize has participated in the affairs of David

   Mize Law through a pattern of racketeering activity within the meaning of §§ 1961(1)(B), 1961(5),

   and 1962(c), namely and as described more fully above, multiple related instances of wire fraud

   in violation of 18 U.S.C. § 1343. Specifically, Defendants Lohman, Branch, Dykes, Muhtaseb,

   and Mize have signed or caused to be signed and sent or caused to be sent through the wires

   multiple fraudulent communications and discovery filings that induced NSL to settle TCPA claims



                                                    65
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 66 of 120 PageID# 2144




   and/or deceived adjudicators on the facts of pending cases. Defendants Lohman, Branch, Dykes,

   Muhtaseb, and Mize also have by corrupt means induced their clients to make false statements via

   telephone to NSL operators stating that they did not want to receive calls from NSL when these

   calls formed the very basis of the Scheme. Upon information and belief, they further counseled

   their clients to provide false testimony during their depositions in violation of 18 U.S.C. § 1512.

          330.    In furtherance of the fraudulent Scheme, Defendants Lohman, Branch, Dykes, and

   Muhtaseb utilized the resources of the Law Offices of Jeffrey Lohman, and Defendant Mize has

   used the resources of David Mize Law to carry out the pattern of racketeering activity in

   furtherance of the Scheme.

          331.    The Defendants used the wires to collect sums from consumers that otherwise

   would have been paid to NSL.

          332.    The Defendants operated the Scheme over the course of years and in multiple states.

          333.    By reason of the violation of 18 U.S.C. § 1962(c) committed by Defendants through

   this pattern of racketeering activity in furtherance of the Scheme, including the multiple related

   instances of wire fraud described above, NSL was injured within the meaning of 18 U.S.C. §

   1964(c) in an as-yet-undetermined amount to be proved at trial.

          334.    By reason of Defendants’ violations as specified above, NSL is entitled to three

   times its actual damages pursuant to 18 U.S.C. § 1964, with interest from the date of loss and

   reasonable attorneys’ fees.

                                  THIRD CAUSE OF ACTION
                       Claim Against All Defendants for Conspiracy to Violate
         Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(d)

          335.    NSL repeats and incorporates by reference paragraphs 1–334 of the Complaint.

          336.    NSL is a “person” within the meaning of 18 U.S.C. § 1964(c).



                                                   66
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 67 of 120 PageID# 2145




          337.    Defendants are “persons” within the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).

          338.    Defendants have formed an association in fact that is an “enterprise” within the

   meaning of 18 U.S.C. §§ 1961(4) and 1962(a), which enterprise has, at all relevant times, been

   engaged in activities that are in and affect interstate commerce in carrying out the Scheme.

          339.    Defendants have unlawfully, knowingly, and willfully combined, conspired,

   confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c) in furtherance of

   the Scheme as described above, in violation of 18 U.S.C. § 1962(d).

          340.    Upon information and belief, Defendants knew that they were engaged in a

   conspiracy to commit the predicate acts, they knew that the predicate acts were part of such

   racketeering activity, and the participation and agreement of each of them was necessary to allow

   the commission of this pattern of racketeering activity. As alleged above, the Defendants went to

   considerable effort to conceal their involvement in the Scheme, including efforts not to

   communicate in a discoverable manner, to refund disgruntled customers to minimize bar and other

   complaints, and to direct clients to testify in a manner that concealed the details of the Scheme.

   This conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. §

   1962(d).

          341.    Upon information and belief, Defendants agreed to conduct or participate, directly

   or indirectly, in the conduct, management, or operation of the Scheme’s affairs through a pattern

   of racketeering activity in violation of 18 U.S.C. § 1962(c).

          342.    Each Defendant knew about and agreed to facilitate the Scheme to defraud

   consumers and manufacture lawsuits against NSL. It was part of the conspiracy that Defendants

   and their co-conspirators would commit a pattern of racketing activity in the conduct of the

   Scheme, including the acts of racketeering set forth above.



                                                   67
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 68 of 120 PageID# 2146




           343.       Defendants took overt acts in furtherance of the Scheme (as described in paragraphs

   54–293 above).

           344.       By reason of the violation of 18 U.S.C. § 1962(d) committed by Defendants, NSL

   was injured within the meaning of 18 U.S.C. § 1964(c) in an as-yet-undetermined amount to be

   proved at trial.

           345.       By reason of Defendants’ violations as specified above, NSL is entitled to three

   times its actual damages pursuant to 18 U.S.C. § 1964, with interest from the date of loss and

   reasonable attorneys’ fees.

                                    FOURTH CAUSE OF ACTION
                         Claim Against Attorney Defendants for Common Law Fraud

           346.       NSL repeats and incorporates by reference paragraphs 1–345 of the Complaint.

           347.       As outlined above, the Attorney Defendants falsely represented in various demand

   letters sent to NSL that they represented certain clients when no such representation existed; falsely

   represented in letters sent to NSL an intention to negotiate their clients’ debts when they had no

   such intention; falsely represented in letters sent to NSL that they were seeking to verify a disputed

   debt when no grounds for dispute existed; and made various false representations in

   communications and other legal papers that induced NSL to settle TCPA claims and/or deceived

   adjudicators on the facts of pending cases.

           348.       These false statements were material because they went to the strength of legal

   cases brought by the Attorney Defendants against NSL as well as to the existence of certain

   defenses.

           349.       As a direct and proximate result of Defendants’ fraudulent statements and Scheme,

   NSL agreed to pay settlements to clients of the Attorney Defendants and/or was required to litigate

   or arbitrate claims manufactured by the Attorney Defendants at considerable expense.

                                                      68
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 69 of 120 PageID# 2147




                                   FIFTH CAUSE OF ACTION
                 Claim Against All Defendants for Tortious Interference with Contract

          350.    NSL repeats and incorporates by reference paragraphs 1–349 of the Complaint.

          351.    NSL and/or its affiliates had entered into valid promissory notes with each and

   every client of the Scheme.

          352.    Each of these promissory notes memorialized a valid and binding agreement to

   repay a student loan that had been disbursed.

          353.    The Debt Counseling Defendants were aware of the existence of these promissory

   notes. In fact, the Debt Counseling Defendants advertised that they could help potential customers

   with existing, valid contractual obligations relating to student loan debt.

          354.    The Debt Counseling Defendants interfered with these repayment obligations by

   inducing the Scheme’s clients to terminate any pre-scheduled or automatic payments to NSL, and

   instead route payments to the Attorney Defendants.

          355.    The Attorney Defendants similarly interfered with these repayment obligations by

   inducing their clients not to pay their valid student loan debts to NSL, including through false

   statements that they could not negotiate with NSL if the clients were making payments to NSL.

          356.    The Defendants further interfered with these repayment obligations by advising the

   Scheme’s clients to cease communicating with NSL, and not to answer any telephone calls from

   NSL advising options to cure the delinquencies on the student loans.

          357.    As a direct and proximate result of this interference, NSL was denied payments that

   it was owed on valid and outstanding student loans.

          358.    As a further result of this interference, NSL wrote off or wrote down all or part of

   outstanding student loans, further reducing the value of NSL’s loan portfolio.




                                                    69
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 70 of 120 PageID# 2148




                                       PRAYER FOR RELIEF

          WHEREFORE NSL prays that judgment be entered in its favor against each and every

   Defendant, jointly and severally, as follows:

          1.      Compensatory damages for legal settlements, attorneys’ fees incurred, and lost loan

   value or revenues, in an amount to be determined at trial;

          2.      Trebling of compensatory damages pursuant to 18 U.S.C. § 1964(c);

          3.      Punitive damages in an amount to be determined at trial;

          4.      Costs and reasonable attorneys’ fees as provided for by 18 U.S.C. § 1964(c) and

   any other applicable law;

          5.      Pre- and post-judgment interest; and

          6.      All other damages and other or further relief as this Court may deem just and proper.

                                            JURY DEMAND

          Plaintiff demands trial by jury in this Court with respect to all issues so triable.


   DATED: December 3, 2019               Respectfully submitted,


                                                   /s/ Jeffrey R. Hamlin
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                                                     70
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 71 of 120 PageID# 2149




                 Exhibit A
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 72 of 120 PageID# 2150
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 73 of 120 PageID# 2151




                 Exhibit B
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 74
                                                               1 ofof12
                                                                      120Page
                                                                          PageID#  2152
                                                                              ID #:1




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        ATTORNEYS FOR PLAINTIFF
        Krystle Mantolino
    8
    9                       UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11
   12
   13
        KRYSTLE MANTOLINO,                       ) CASE NO. 8:17-cv-867
                                                 )
   14                     Plaintiff,             )  1. CIVIL RICO (18 U.S.C. §
   15         vs.                                )     1962(c))
                                                 )  2. UNFAIR COMPETITION
   16   KNEPPER & JOHANSON LAW                   )     (Bus. & Prof Code 17200)
   17   GROUP, entity form unknown;              )  3. BREACH OF CONTRACT
        AMANDA JOHANSON &                        )  4. INTENTIONAL
   18
        ASSOCIATES, entity form unknown;         )     MISREPRESENTATION
   19   JOHANSON LAW GROUP, a Nevada             )  5. FRAUD
   20   corporation CMS, entity form unknown;    )  6. CONVERSION
        AMANDA JOHANSON, an individual;          )  7. LEGAL MALPRACTICE
   21   PERLA ORTIZ, an individual;              )
   22   JOHN DAVI, an individual; TERRY          )
        BELSER, an individual, an individual,    ) JURY TRIAL DEMANDED
   23
        and DOES 1-10.                           )
   24                                            )
   25                     Defendants.            )
                                                 )
   26                                            )
   27                                            )
                                                 )
   28
                                                 )

                                                -1-
                                           COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 75
                                                               2 ofof12
                                                                      120Page
                                                                          PageID#  2153
                                                                              ID #:2




    1                                  NATURE OF THE CASE
    2           1.      Plaintiff KRYSTLE MANTOLINO hereby alleges the following upon
    3   personal knowledge and information and belief against Defendants KNEPPER &
    4   JOHANSON LAW GROUP, AMANDA JOHANSON & ASSOCIATES, CMS,
    5   JOHANSON LAW GROUP, AMANDA JOHANSON, PERLA ORTIZ, JOHN DAVI,
    6   TERRY BELSER, and other defendants presently unknown (collectively referred to
    7   as “Defendants”).
    8           2.      Defendants have engaged in a multi-state conspiracy to defraud
    9   consumers 1 by obtaining monthly ACH payments as a direct result of fraudulently
   10   claiming that Defendants would represent consumers in the handling of student loan
   11   processing.
   12           3.      However, Defendants never intended to actually represent consumers in
   13   the handling of student processing.
   14           4.      Instead, Defendants intentionally deceived consumers into paying
   15   monthly payments while Defendants knew that the consumer loans would go directly
   16   into default.
   17           5.      Defendants claimed to act as attorneys of law in the representation of
   18   consumers.
   19           6.      In reality, Defendants never intended to engage in any meaningful
   20   practice of law in the representation of consumers.
   21           7.      Defendants in fact never engaged in any meaningful practice of law in
   22   the representation of consumers.
   23           8.      Defendants only claimed that they would represent consumers as
   24   attorneys of law for the direct purpose of tricking consumers into agreeing into
   25   monthly payments for the representation of student loan processing.
   26           9.      On or about October 8, 2015, in the County of Orange, Defendants,
   27
   28   1
            All references to consumers include Plaintiff Krystle Mantolino.

                                                    -2-
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 76
                                                               3 ofof12
                                                                      120Page
                                                                          PageID#  2154
                                                                              ID #:3




    1   through intentional misrepresentations, deceived Plaintiff into signing a purported
    2   attorney-client retainer contract by claiming Defendants would handle all aspects of
    3   Plaintiff’s student loan processing, including settling and resolving her outstanding
    4   student loans in exchange for monthly payments.
    5          10.    The purported retainer failed to comply with the ABA and California
    6   State Bar Rules of Professional Conduct.
    7          11.    The purported retainer contained an illegal attorney’s fee provision of
    8   $23,691.60 at paragraph 2.
    9          12.    The purported retainer states that “unearned fees will be returned to
   10   Client”.
   11          13.    Defendants never earned any fee in this matter.
   12          14.    The Scope of Services for the purported retainer required Defendants to
   13   take all efforts to “eliminate (or reduce, as the facts of your case dictate) your student
   14   loan debts), primarily through negotiations with your lenders” at paragraph 1.
   15          15.    The Scope of Services further requires that Defendants will conduct an
   16   “analysis of Client’s rights and remedies” and “may recommend that Client consent
   17   to initiate litigation”.
   18          16.    The Scope of Services further requires that Defendants shall “defend”
   19   client in litigation.
   20          17.    The Scope of Services further requires that Defendants shall engage in
   21   “negotiation and drafting of settlement and release agreements to discharge or alter
   22   the terms of the debts”.
   23          18.    Defendants never intended to (and did not) fulfill the Scope of Services
   24   provisions in the purported retainer.
   25          19.    Defendants instructed Plaintiff to stop paying her debts and to go into
   26   default.
   27          20.    Defendants represented that if litigation ensued as a result of Plaintiff
   28   going into default, that Defendants would successfully represent Plaintiff in defense

                                                   -3-
                                                COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 77
                                                               4 ofof12
                                                                      120Page
                                                                          PageID#  2155
                                                                              ID #:4




    1   of said litigation.
    2          21.      Defendants knew that their actions would result in Plaintiff’s student
    3   loan accounts being charged off and the severe damaging of Plaintiff’s and her co-
    4   signer’s credit.
    5          22.      Nonetheless, motivated by their desire to trick consumers into paying
    6   fraudulent retainer fees, Defendants intentionally misled Plaintiff down a path of
    7   financial ruin.
    8          23.      Defendants never attempted to negotiate Plaintiff’s loans.
    9          24.      Defendants instead only sent a cease and desist letter to Plaintiff’s
   10   creditors and did nothing else while Plaintiff’s loans defaulted and her credit score
   11   plummeted.
   12          25.      Instead of using Plaintiff’s payments to help satisfy her loan, Defendants
   13   took the money for their own personal gain.
   14          26.      Defendants’ conduct is completely outrageous and intolerable in a civil
   15   society. Defendants’ conduct was intentionally designed to hurt consumers including
   16   Plaintiff who were vulnerable due to recently incurring significant student debt.
   17          27.      Plaintiff paid Defendants over $7,050.12 as a result of the fraudulent
   18   scheme but has suffered additional damages in the form of ruined credit, and
   19   unknown interest and late penalties.
   20          28.      The payments were secured by Defendants through interstate wire
   21   transactions.
   22          29.      Plaintiff has incurred significant default and interest penalties to the
   23   loans as a result of Defendants’ actions.
   24          30.      Moreover, Plaintiff’s credit score has significantly fallen as a result of
   25   defaults of charge-offs that are a direct result of Defendants’ fraudulent
   26   misrepresentations.
   27   ///
   28   ///

                                                     -4-
                                                COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 78
                                                               5 ofof12
                                                                      120Page
                                                                          PageID#  2156
                                                                              ID #:5




    1                                     JURISDICTION
    2         31.    This Court has subject matter jurisdiction over these proceedings
    3   because federal courts retain jurisdiction over claims properly brought pursuant to 18
    4   U.S.C. § 17200.
    5         32.    The remaining causes of action are properly brought pursuant to federal
    6   courts’ retention of supplemental jurisdiction over claims brought pursuant to the
    7   same conduct constituting the underlying violations of 18 U.S.C. § 17200.
    8                                         PARTIES
    9         33.    Plaintiff Krystle Mantolino is an individual and at all relevant times was
   10   a resident in Orange County, California. Plaintiff was in this jurisdiction when she
   11   was manipulated into signing the purported retainer.
   12         34.    Defendant Amanda Johanson is an individual residing in this state and
   13   practicing law under a California State Bar license.
   14         35.    All Defendants intentionally deceived Plaintiff into signing the purported
   15   agreement while within state boundaries and benefited from interstate wire fraud in
   16   the form of receiving consumers’ monthly payments.
   17         36.    Defendant Knepper & Johanson Law Group is an entity form unknown
   18   conducting business and residing in California.
   19         37.    Defendant Amanda Johanson & Associates is an entity form unknown
   20   conducting business and residing in California.
   21         38.    Defendant CMS is an entity form unknown conducting business and
   22   residing in California.
   23         39.    Defendant Perla Ortiz is an individual residing in the United States.
   24         40.    Defendant John Davi is an individual residing in the United States.
   25         41.    Defendant Terry Belser is an individual residing in the United States.
   26         42.    Plaintiff is informed and believes and thereon alleges that at all times
   27   herein mentioned, Defendants, and each of them, were the co-conspirators, co-
   28   collaborators, agents, joint venturers, trustees, servants, partners, alter-egos, parent

                                                  -5-
                                              COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 79
                                                               6 ofof12
                                                                      120Page
                                                                          PageID#  2157
                                                                              ID #:6




    1   corporations, subsidiaries, affiliates, contractors, and/or employees of each of the
    2   remaining Defendants, and that the acts and/or omissions herein alleged were done by
    3   them, acting individually and as part of a RICO enterprise, through such capacity or
    4   through the scope of their authority, and that said conduct was thereafter ratified by
    5   the remaining Defendants.
    6         43.    Except as otherwise alleged, Plaintiff is not currently aware of the true
    7   names and capacities of the Defendants designated herein as DOES 1 through 10,
    8   inclusive. As such, Plaintiff will hereafter seek leave of court to amend this
    9   Complaint in order to allege the true names and capacities of each such Defendant
   10   when such information is ascertained.
   11                               FIRST CAUSE OF ACTION
   12                             CIVIL RICO 18 U.S.C. § 1962(c)
   13                                   Against All Defendants
   14         44.    Plaintiff realleges and incorporates herein by reference each and every
   15   allegation set forth in this Complaint before and after this paragraph.
   16         45.    Plaintiff and each Defendant are “persons” as defined in 18 U.S.C. §
   17   1961(3).
   18         46.    Defendants, including all individual Defendants, including their
   19   employees and agents, formed an association-in-fact enterprise within the meaning of
   20   18 U.S.C. § 1961(4), the “False Hope Enterprise”.
   21         47.    The False Hope Enterprise is an ongoing organization consisting of a
   22   variety of legal “persons” that associated for common and shared purposes, including:
   23   (a) to engage in wire fraud by tricking consumers into providing their bank account
   24   information to set up monthly deposits for illegal retainer fees; (b) to deceive
   25   consumers into believing they were paying for valid legal services, including full
   26   representation for settlement, resolution, and necessary litigation for consumer
   27   student loans; (c) to convert said consumers’ monthly deposits for Defendants’
   28   personal monetary gain; and (d) to lead consumers on as long as possible while

                                                   -6-
                                              COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 80
                                                               7 ofof12
                                                                      120Page
                                                                          PageID#  2158
                                                                              ID #:7




    1   withdrawing as much money as possible without ever performing any legitimate
    2   services, legal or otherwise.
    3           48.    Defendants knew that Defendants would never provide consumers any
    4   legitimate services, legal or otherwise, yet convinced consumers to sign up for
    5   Defendants’ services and make monthly payments for services that would never
    6   come.
    7           49.    As a direct and proximate result of Defendants’ False Hope Enterprise,
    8   Plaintiff has suffered ongoing economic and emotional loss and Plaintiff’s credit
    9   continues to be damaged as a result of her loans entering in default, charge-off, and
   10   collections.
   11           50.    If not for Defendants’ False Hope Enterprise, Plaintiff would have
   12   continued to make normal payments on her loans directly to her original creditors.
   13   Unfortunately, she was deceived by Defendants, who repeatedly promised Plaintiff
   14   that all aspects of her student loan processing would be handled by Defendants,
   15   including settlement, resolution, and necessary litigation.
   16           51.    Defendants knew Defendants were making false statements to Plaintiff
   17   in order to secure her banking information for purposes of committing wire fraud.
   18           52.    Defendants’ actions as oppressive, fraudulent and malicious, as these
   19   acts were committed in conjunction with a wider campaign to injure Plaintiff and
   20   other consumers. They were taken with a complete disregard to common decency
   21   and with complete knowledge that they would injure consumers. Thus, Plaintiff is
   22   entitled to punitive damages to be proven at trial.
   23           53.    The False Hope Enterprise has necessarily used the mail and wires to
   24   perpetuate its fraud. The False Hope Enterprise specifically conspired to obtain
   25   consumers bank account information through deception for purposes of setting up
   26   automatic monthly deposits. Moreover, Defendants used email and fax and the
   27   telephone as they managed and operated the False Hope Enterprise, including directly
   28   contacting Plaintiff and consumers for monthly “status reports” and to convey

                                                   -7-
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 81
                                                               8 ofof12
                                                                      120Page
                                                                          PageID#  2159
                                                                              ID #:8




    1   misleading and confusing publications and agreements to lengthen the amount of time
    2   consumers would send Defendants money wire transfers. This constitutes a pattern of
    3   racketeering activity by mail fraud, in violation of 18 U.S.C. § 1341, and wire fraud,
    4   in violation of 18 U.S.C. § 1343.
    5         54.    The False Hope Enterprise also affects interstate commerce. The False
    6   Hope Enterprise could not be carried out without the United States mail or interstate
    7   wires, which were used to convey fraudulent misrepresentations and to actually
    8   convert consumer funds. Further, Defendants fraudulent retained thousands of dollars
    9   of Plaintiff’s money, and on information and belief, millions of dollars owed to
   10   consumers generally. The False Hope Enterprise leads consumers, like Plaintiff, into
   11   a path of loan default, which hurts not only original creditors, but consumers who see
   12   drastic drops in credit scores. On information and belief, Defendants operates in
   13   multiple states including but not limited to, California, Arizona and Nevada and
   14   employ dozens of employees who operate across multiple state lines.
   15         55.    Defendants’ violations of 18 U.S.C. § 1962(c) directly and proximately
   16   caused Plaintiff substantial economic injury because Defendants’ pattern of
   17   racketeering activity not only deceived Plaintiff into believing her loans were at least
   18   being paid on a monthly basis, thereby causing Plaintiff to suffer late fees, interest,
   19   and penalties, but further harmed Plaintiff by causing her credit score to plummet.
   20         56.    Defendants’ misrepresentations of fact made to Plaintiff in writing and
   21   by telephone are additional predicate acts of mail and wire fraud performed by an in
   22   furtherance of the False Hope Enterprise. All of these fraudulent representations and
   23   omissions were relied on by Plaintiff to her injury.
   24         57.    As a direct and proximate result of Defendants’ unlawful racketeering
   25   activity, Plaintiff suffered and continues to suffer damages in an amount to be proven
   26   at trial. Under the provisions of 18 U.S.C. § 1964(c), Defendants are jointly and
   27   severally liable to Plaintiff for three times the damages that Plaintiff has suffered, plus
   28   the costs of bringing this suit, including reasonable attorneys’ fees.

                                                    -8-
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB
   Case 8:17-cv-00867-JLS-JCGDocument 1001 Filed
                               Document    Filed 12/13/19
                                                 05/17/17 Page
                                                          Page 82
                                                               9 ofof12
                                                                      120Page
                                                                          PageID#  2160
                                                                              ID #:9




    1                              SECOND CAUSE OF ACTION
    2                     CIVIL RICO CONSPIRACY 18 U.S.C. § 1962(d)
    3                                   Against All Defendants
    4            58.   Plaintiff realleges and incorporates herein by reference each and every
    5   allegation set forth in this Complaint before and after this paragraph.
    6            59.   The Defendants formed an agreement to violate 18 U.S.C. § 1962(c).
    7   Each Defendant knew of the False Hope Enterprise’s conspiracy to defraud Plaintiff,
    8   and other consumers, by fraudulently representing the willingness and ability to
    9   engage in legal services for the sole purposes of engaging in wire fraud to convert
   10   consumers’ funds send via interstate wires. Defendants all took steps to conceal the
   11   fraud.
   12            60.   Each Defendant agreed to join this conspiracy and each agreed to
   13   commit, facilitate, or participate in a pattern of racketeering activity in furtherance of
   14   the conspiracy.
   15            61.   During the existence of the conspiracy, each of the Defendants agreed to
   16   the commission of an indefinite stream of predicate acts in furtherance of the
   17   conspiracy.
   18            62.   Defendants agreed to and did commit multiple instances of mail and wire
   19   fraud in furtherance of the conspiracy by mailing and wiring fraudulent
   20   misrepresentations, agreements, and retainers, to consumers including Plaintiff.
   21   Defendants devised the scheme using teleconference, the internet, mail, and email.
   22            63.   The predicate acts of mail and wire fraud that Defendants agreed to and
   23   did commit directly and proximately caused Plaintiff to suffer substantial injury to her
   24   credit score and damaged her financially.
   25            64.   Under the provisions of 18 U.S.C. § 1964(d), each of the Defendants are
   26   jointly and severally liable to Plaintiff for three times the damages that Plaintiff has
   27   suffered, plus the costs of bringing this suit, including reasonable attorneys’ fees.
   28


                                                    -9-
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB
  Case 8:17-cv-00867-JLS-JCG Document
                              Document100 Filed05/17/17
                                       1 Filed  12/13/19 Page
                                                          Page10
                                                               83ofof12
                                                                      120Page
                                                                          PageID#  2161
                                                                              ID #:10




    1                               THIRD CAUSE OF ACTION
    2      UNFAIR COMPETITION BUSINESS & PROFESSIONS CODE § 17200
    3                                   Against All Defendants
    4         65.    Plaintiff realleges and incorporates herein by reference each and every
    5   allegation set forth in this Complaint before and after this paragraph.
    6         66.    Defendants’ schemes involving fraudulent misrepresentations and
    7   omissions constitute unlawful, unfair, or fraudulent business acts and practices, under
    8   the California Unfair Competition Law (“UCL”), California Bus. & Prof. Code §
    9   17200 et seq.
   10         67.    Each Defendant violated section 17200’s prohibitions against engaging
   11   in an unlawful act or practice through conduct that violates, among other things,
   12   RICO, 18 U.S.C. § 1962, as described herein. Through their unfair and improper
   13   practices, Plaintiff suffered injury by virtue of the Defendants’ fraudulent
   14   misrepresentations and wire fraud.
   15         68.    Defendants’ unfair and unlawful practices were performed in California.
   16         69.    Plaintiff has suffered emotional and economic injury as a direct and
   17   proximate result of Defendants’ unfair and unlawful practices, as alleged herein.
   18                             FOURTH CAUSE OF ACTION
   19                        INTENTIONAL MISPREPRESENTATION
   20                                   Against All Defendants
   21         70.    Plaintiff realleges and incorporates herein by reference each and every
   22   allegation set forth in this Complaint before and after this paragraph.
   23         71.    Defendants’ conduct, including but not limited to, transmitting the
   24   purported retainer agreement, constitutes repeated instances of the tort of intentional
   25   misrepresentation.
   26         72.    Defendants’ conduct violates California Civil Code Sections 1709, 1710,
   27   1572, and 1573.
   28         73.    Plaintiff has suffered emotional and economic injury as a direct and

                                                  - 10 -
                                              COMPLAINT
Case 1:19-cv-00461-LMB-TCB
  Case 8:17-cv-00867-JLS-JCG Document
                              Document100 Filed05/17/17
                                       1 Filed  12/13/19 Page
                                                          Page11
                                                               84ofof12
                                                                      120Page
                                                                          PageID#  2162
                                                                              ID #:11




    1   proximate result of Defendants’ unfair and unlawful practices, as alleged herein.
    2                               FIFTH CAUSE OF ACTION
    3                                           FRAUD
    4                                   Against All Defendants
    5         74.    Plaintiff realleges and incorporates herein by reference each and every
    6   allegation set forth in this Complaint before and after this paragraph.
    7         75.    Defendants’ conduct, including but not limited to, transmitting the
    8   purported retainer agreement, constitutes repeated instances of fraud.
    9         76.    Defendants’ conduct violates California Civil Code Sections 1709, 1710,
   10   1572, and 1573.
   11         77.    Plaintiff has suffered emotional and economic injury as a direct and
   12   proximate result of Defendants’ unfair and unlawful practices, as alleged herein.
   13                               SIXTH CAUSE OF ACTION
   14                                       CONVERSION
   15                                   Against All Defendants
   16         78.    Plaintiff realleges and incorporates herein by reference each and every
   17   allegation set forth in this Complaint before and after this paragraph.
   18         79.    Defendants’ conduct, including but not limited to, holding and refusing
   19   to retain consumers’ funds, constitutes conversion.
   20         80.    Plaintiff has suffered emotional and economic injury as a direct and
   21   proximate result of Defendants’ unfair and unlawful practices, as alleged herein.
   22
   23                             SEVENTH CAUSE OF ACTION
   24                                 LEGAL MALPRACTICE
   25                              Against Amanda Johanson Only
   26         81.    Plaintiff realleges and incorporates herein by reference each and every
   27   allegation set forth in this Complaint before and after this paragraph .
   28         82.    Defendant Amanda Johanson’s conduct, in engaging in aforesaid

                                                   - 11 -
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB
  Case 8:17-cv-00867-JLS-JCG Document
                              Document100 Filed05/17/17
                                       1 Filed  12/13/19 Page
                                                          Page12
                                                               85ofof12
                                                                      120Page
                                                                          PageID#  2163
                                                                              ID #:12




    1   actions, and in ratifying them, constitutes legal malpractice.
    2         83.    Plaintiff has suffered emotional and economic injury as a direct and
    3   proximate result of Defendants’ unfair and unlawful practices, as alleged herein.
    4
    5                                          PRAYER
    6         Plaintiff prays for the following relief:
    7                AS TO ALL CAUSES OF ACTION:
    8                (1) General and special damages in a sum to be proven at a trial with pre-
    9                   judgment and post-judgment interest thereon at the maximum rate
   10                   permitted by law;
   11                (2) Mandatory treble damages;
   12                (3) Reasonable attorney’s fees;
   13                (4) Punitive and exemplary damages in an amount appropriate to punish
   14                   and set example of defendants;
   15                (5) Costs; and
   16                (6) For recovery of all attorneys’ fees pursuant to California Code of
   17                   Civil Procedure § 1021.5.
   18   Dated: May 17, 2017       LAW OFFICES OF SCOTT WARMUTH, A.P.C.
   19
   20                             */s/Nathaniel Clark*
   21                             Nathaniel Clark, Esq.
                                  ATTORNEYS FOR PLAINTIFF,
   22
                                  Krystle Mantolino
   23
   24
   25
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                                                   - 12 -
                                               COMPLAINT
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 86 of 120 PageID# 2164




                 Exhibit C
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 87 of 120 PageID# 2165
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 88 of 120 PageID# 2166
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 89 of 120 PageID# 2167
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 90 of 120 PageID# 2168
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 91 of 120 PageID# 2169
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 92 of 120 PageID# 2170
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 93 of 120 PageID# 2171
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 94 of 120 PageID# 2172
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 95 of 120 PageID# 2173
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 96 of 120 PageID# 2174
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 97 of 120 PageID# 2175
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 98 of 120 PageID# 2176
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 99 of 120 PageID# 2177
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 100 of 120 PageID# 2178




                 Exhibit D
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 101 of 120 PageID# 2179
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 102 of 120 PageID# 2180
Case 1:19-cv-00461-LMB-TCB Document 100 Filed 12/13/19 Page 103 of 120 PageID# 2181




                 Exhibit E
Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 1 of104 of 120 PageID#
                                                                      17 PageID  #: 31  2182




                     IN THE CIRCUIT COURT OF THE CITY OF​​ ​ST. LOUIS
                                  STATE OF MISSOURI
                                  ASSOCIATE DIVISION


     THERESA JOHNSON,

            Plaintiff,
                                                           Cause No. 1822-AC07686
     v.
                                                           Division 28
     LAW OFFICES OF JEFFREY LOHMAN, A
     PROFESSIONAL CORPORATION

     and

     VERITAS LEGAL PLAN, INC.

     Serve at:
     Michael J. McGoey, CPA, INC.
     639 E. Ocean Ave. Suite 101
     Boynton Beach, FL 33435

            Defendants.                                    JURY TRIAL DEMANDED

                                    FIRST AMENDED PETITION

           COMES NOW Plaintiff, Theresa Johnson, by and through her undersigned counsel, and

    for her First Amended Petition states as follows:

                                           INTRODUCTION

           1.      This is an action for actual and punitive damages brought by an individual for

    violations of the Missouri Merchandising Practices Act, Sections 407.010 RSMo. et seq.

    (“MMPA”).




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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 2 of105 of 120 PageID#
                                                                      17 PageID  #: 32  2183




            2.      This is an action for actual and punitive damages brought by an individual

    consumer for violations of the Credit Repair Organizations Act, 15 U.S.C. Sections 1679 et seq.

    (“CROA”).

            3.      This is an action for actual and punitive damages brought by an individual for

    violations of Sections 407.635 RSMo. et seq. governing credit service organizations (“CSO

    Statutes”).

            4.      This is an action for compensatory and punitive damages brought by an individual

    for the unauthorized practice of law.

            5.      Plaintiff demands a trial by jury on all issues so triable.

                                      JURISDICTION AND VENUE

            6.      This Court has jurisdiction of Plaintiff’s claims under Sections 407.025(1) and

    407.644 RSMo.

            7.      Venue is proper in the City of St. Louis, Missouri under Section 508.010.2(4)

    RSMo. because Plaintiff resides in the City of St. Louis, Missouri and was damaged in the City

    of St. Louis, Missouri.

            8.      The circuit court has jurisdiction of all claims under Section 478.070 RSMo.

                                                  PARTIES

            9.      Plaintiff Theresa Johnson (“Plaintiff”) is an individual person and a resident of the

    City of St. Louis, Missouri.

            10.     Defendant Law Offices of Jeffrey Lohman, a Professional Corporation

    (“Lohman”) is a foreign entity doing business in Missouri without any attorneys in its office

    admitted to practice in this state.

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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 3 of106 of 120 PageID#
                                                                      17 PageID  #: 33  2184




           11.     At all times relevant, Lohman acted as former Defendant Burlington

    (“Burlington”)’s partner.

           12.     Veritas Legal Plan Inc. (“Veritas”) is a Florida corporation providing prepaid

    legal service plans with its principal place of business in Florida.

           13.     At all times relevant, Lohman acted as the agent of Veritas and Burlington and

    acted for their benefit and with their express consent and approval.

           14.     In the alternative, Veritas acted as the agent of Lohman and Burlington and acted

    for their benefit and with their express consent and approval at all times relevant.

           15.     In the alternative, Burlington acted as the agent of Lohman and Veritas and acted

    for their benefit and with their express consent and approval at all times relevant.

           16.     In the alternative Lohman, Veritas, and Burlington are all coagents and acted for

    the benefit of one another and with the express consent and approval of one another at all times

    relevant.

                                                  FACTS

                     Former Defendant Burlington Convinces Plaintiff to Sign Up

           17.     Plaintiff is a disabled individual who lives on Social Security and Disability

    payments.

           18.     As a result of being unable to work, Plaintiff’s credit card and unsecured debts

    began to accumulate in 2016 and 2017.

           19.     Plaintiff owed debts to many unsecured creditors and her situation had become

    unmanageable.




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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 4 of107 of 120 PageID#
                                                                      17 PageID  #: 34  2185




            20.     Plaintiff wanted advice on whether she should try to pay off the debts and as to

    what the consequences would be if she did not pay off the debts.

            21.     In approximately August of 2017, Plaintiff saw a Burlington television

    advertisement that promised Burlington could eliminate Plaintiff’s debt through a process called

    debt “validation” or “verification.”

            22.     Burlington’s advertisement offered services that would get the debt collectors to

    stop bothering Plaintiff and proclaimed that Burlington’s “debt validation” would actually

    eliminate Plaintiff’s bills.

            23.     Plaintiff thought that Burlington might be able to help her with her situation and

    inquired into the services that Burlington was offering.

            24.     Plaintiff received a pamphlet and other items in the mail containing more

    information about the services Burlington was offering.

            25.     Burlington offered a one-size-fits-all plan that involved using their debt

    “validation” techniques that would help plaintiff “take back control of [her] finances.”

            26.     Burlington communicated to Plaintiff that its techniques would be better for

    Plaintiff than filing for bankruptcy, and that once debt collectors receive Burlington’s

    “proprietary dispute documentation, all collection calls and activity should stop.”

            27.     Burlington also communicated to Plaintiff that Burlington’s second step of

    sending a “letter of nonresponse/non-compliance to the debt collector” would have the Plaintiff’s

    account removed from active collection status.

            28.     Among other representations, Burlington advised Plaintiff that if a creditor could

    not “validate” a debt, Plaintiff would not have to pay the debt.

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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 5 of108 of 120 PageID#
                                                                      17 PageID  #: 35  2186




           29.     All of Burlington’s representations about all of its services were completely false.

           30.     Burlington specifically provided information on the Fair Debt Collection

    Practices Act (“FDCPA”) to Plaintiff and explained that Burlington would “fully utiliz[e] . . . the

    FDCPA, and other Federal and State consumer protection statutes” to stop collection activities.

           31.     Burlington, without a single in-house lawyer doing any work on Burlington’s

    behalf, did not utilize the FDCPA for its clients like it represented to Plaintiff that it would.

           32.     Burlington communicated to Plaintiff that she would receive the “Veritas Legal

    Plan” (“the Plan”) which would provide “protection against creditor lawsuits and aggressive

    collectors.”

           33.     The Plan offered “national legal defense”.

           34.     The Plan promised “full legal representation” by a “local network attorney” for

    “any debt collection matter that arises.”

           35.     The plan was for “full representation” and “preparation of all court filings:

    Answers, motions, demands, interrogatories, counterclaims” and “court appearances- until case

    is closed.”

           36.     Lohman, a California law firm, was the “local network attorney” that Veritas was

    going to provide to Plaintiff as part of Burlington’s sale of its “Debt Validation Program”.

           37.     Burlington promised that Plaintiff, in exchange for monthly payments of $391.26,

    would receive value for those payments because Burlington was going to provide their “Debt

    Validation Program” and the “Veritas Legal Plan.”




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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 6 of109 of 120 PageID#
                                                                      17 PageID  #: 36  2187




            38.       As Burlington provided a wide span of advice to Plaintiff about her secular rights

    as a Missouri debtor to various creditors, Burlington engaged in the practice of law with

    Plaintiff.

            39.       At all times relevant, Burlington knew that Plaintiff was unsophisticated and that

    Plaintiff had little to no knowledge of her legal responsibilities regarding her debts and that

    Plaintiff had little to no knowledge of the consequences that would occur if she simply stopped

    paying her creditors.

            40.       In September or October of 2017, Burlington abused Plaintiff’s relative ignorance

    and its own position of power and enticed Plaintiff to enter into an agreement whereby Plaintiff

    agreed to (1) stop paying all of her unsecured creditors and (2) send $391.26 every month to

    Burlington.

            41.       For six months thereafter, Plaintiff did everything that Burlington instructed her to

    do and Burlington took $391.26 from Plaintiff’s checking account via a pre-authorized electronic

    funds transfer.

            42.       Upon information and belief, Burlington used part of this money to pay

    Defendants Lohman and Veritas in exchange for the services Lohman and Veritas provided.

            43.       To the extent the agreement ever contained a valid arbitration provision, Plaintiff

    never received a countersigned copy of the agreement and is no longer bound by any arbitration

    provision.

            44.       Plaintiff never agreed to arbitrate anything.

                        Defendants Take Plaintiff’s Money and Do Nothing For Her




                                                        6
Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 7 of110 of 120 PageID#
                                                                      17 PageID  #: 37  2188




           45.     After signing up with Burlington, Plaintiff noticed that the collection calls and

    letters actually increased.

           46.     As a result, Plaintiff made numerous calls to Burlington to question them about

    the uptick in collection activity and found Burlington to be non-responsive.

           47.     Specifically, Burlington refused to explain why collection activity was increasing

    and instead told Plaintiff to keep sending Burlington money.

           48.     Plaintiff soon learned that the creditors were not going away and that Burlington’s

    program was worthless.

           49.     Burlington eventually referred Plaintiff to Lohman through the Veritas Plan.

           50.     No attorney at Lohman is licensed to practice law in Missouri.

           51.     As such, no attorney at Lohman was familiar with Missouri laws relating to the

    collection of debts and/or consumer rights in such a situation.

           52.     Veritas did not provide a “local network attorney” as promised and had no intent

    of providing an attorney actually licensed to practice law in Missouri.

           53.     Veritas’s own agreement with Plaintiff was for “full representation”, which could

    not be provided by Lohman, as no attorney at Lohman was licensed in Missouri.

           54.     Plaintiff would have never paid for or otherwise agreed to the Veritas Plan if

    Veritas had not made representations that beneficial legal services would be provided.

           55.     Upon information and belief, Veritas continued to accept payment even though no

    beneficial services were ever provided by Veritas to Plaintiff.

           56.     Veritas provided Lohman with Plaintiff’s contact information as part of Veritas’s

    agreement to provide legal services to Plaintiff.

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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 8 of111 of 120 PageID#
                                                                      17 PageID  #: 38  2189




           57.     Nonetheless, Lohman provided legal advice to Plaintiff about dealing with her

    creditors and tried to further solicit Telephone Consumer Protection Act (“TCPA”) cases from

    Plaintiff without a proper license.

           58.     Sometime in 2017, Burlington directed Plaintiff to call Lohman, and she did so.

           59.     From the end of September, 2017 until the middle of August, 2018 Defendant

    Lohman contacted or attempted to contact Plaintiff over 50 times in the form of telephone calls,

    emails, and text messages.

           60.     The substance of these contacts ranged from general solicitation of business

    regarding Plaintiff’s debts and debt collectors, to specific attempts to take on TCPA cases, to

    general advice about how Plaintiff should deal with her creditors.

           61.     Plaintiff spoke primarily with two individuals who identified themselves as

    “Kenya” and “Samantha” and purported to be attorneys.

           62.     Neither Kenya nor Samantha was ever licensed to practice law in Missouri.

           63.     Lohman and all of its personnel, including Kenya and Samantha, were located in

    California.

           64.     Kenya and Samantha provided advice to Plaintiff on how to respond to debt

    collectors that were calling Plaintiff over the phone in Missouri.

           65.     Kenya and Samantha provided Plaintiff with a “statement” that Plaintiff was

    supposed to read over the phone to her debt collectors that would call in Missouri.

           66.     Kenya and Samantha told Plaintiff to tell debt collectors not to call Plaintiff’s

    cellular telephone located in Missouri.




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Case 1:19-cv-00461-LMB-TCB   Document
        Case: 4:19-cv-00457 Doc. #: 1-4 100
                                         Filed:Filed 12/13/19
                                                03/15/19      Page
                                                           Page: 9 of112 of 120 PageID#
                                                                      17 PageID  #: 39  2190




            67.    Lohman continually provided Plaintiff with bad legal advice that made her

    situation worse.

            68.    Lohman’s conduct was at all times the unauthorized practice of law in Missouri.

            69.    Even after getting out of the program with Burlington, Lohman sent Plaintiff a

    text message on August 4, 2018 advising about debt collections calls and asking “[d]id you still

    want us to take on the case for you?”

            70.    Lohman sought to mislead and deceive Plaintiff into working with Lohman, even

    though no one at Lohman was able to practice law in Missouri.

            71.    This was deceptive conduct designed to get the benefit of Plaintiff’s business.

            72.    Lohman again on August 13, 2018 sent Plaintiff a text saying “[s]ince we were

    already working with you I wanted to know if you still wanted to pursue the case against Kohls

    for calling you.”

            73.    Lohman’s actions were repeated, continuous solicitation of Plaintiff’s business

    when Defendant Lohman was never licensed to practice law in Missouri.

            74.    Lohman deceived and misled Plaintiff into continuing to use its services for either

    direct payment by Plaintiff to Lohman or payment in the form of attorney’s fees paid through

    TCPA case settlements.

            75.    Plaintiff paid valuable consideration to Burlington for this legal advice, and upon

    information and belief, paid indirectly to Lohman and Veritas.

            76.    Defendants’ legal advice was deficient, wrong, and incredibly damaging to

    Plaintiff.




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Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 10 of113
                                                                     17 of 120 PageID#
                                                                        PageID  #: 40 2191



              77.    Plaintiff, after taking Defendants’ advice and not paying any of her creditors for

    six months, put herself in a much worse financial position.

              78.    At least one creditor, Synchrony Bank, sued Plaintiff after Plaintiff followed

    Defendants’ advice to stop paying Synchrony Bank.

              79.    Defendants have not improved Plaintiff’s credit as they promised; Defendants

    destroyed Plaintiff’s credit.

              80.    Defendants, upon information and belief, have pocketed all or most of Plaintiff’s

    money and have not performed as they promised.

              81.    Defendants’ actions have caused Plaintiff to suffer loss in excess of the minimum

    jurisdictional amount of this Court.

              82.    Defendants’ actions were wanton, willful, and in deliberate disregard of Plaintiff’s

    rights.

              83.    Former Defendant Burlington has reached a confidential settlement outside of

    court and has been dismissed from this case.

                    COUNT I: VIOLATION OF THE MMPA - ALL DEFENDANTS

              84.    Plaintiff incorporates all prior paragraphs as if fully stated herein.

              85.    Plaintiff paid former Defendant Burlington for the Veritas Legal Plan services

    under the assumption that the Plan would be beneficial to Plaintiff, specifically by providing

    local counsel.

              86.    Veritas’s statements about their services were deceptive, false, unfair, and

    concealed material facts in connection with its sale of their services to Plaintiff.




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Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 11 of114
                                                                     17 of 120 PageID#
                                                                        PageID  #: 41 2192



           87.     Specifically, Veritas represented that it would provide Plaintiff with a “local

    network attorney” who would provide “full representation”.

           88.     This representation was false. As evidenced by Veritas providing Plaintiff with

    Lohman, a law firm with no attorneys licensed to practice in Missouri.

           89.     Lohman, instead of informing Plaintiff that it could not represent Plaintiff, instead

    began to actively solicit business from Plaintiff.

           90.     Lohman made representations that it could help Plaintiff with her debt issues.

           91.     Lohman never informed Plaintiff that it was not licensed in Missouri, instead it

    deceived Plaintiff into believing that its attorneys were able to practice law in Missouri.

           92.     Lohman repeatedly gave advice to Plaintiff and actively sought to pursue TCPA

    cases on Plaintiff’s behalf.

           93.     Plaintiff received no benefit for these services and could not receive benefit for

    these services, as no one at Lohman could practice law in Missouri.

           94.     Plaintiff paid for legal services through Burlington to Veritas and Lohman for

    which Plaintiff received virtually no value. Plaintiff was worse off than before she agreed to

    deal with Defendants.

           95.     Upon information and belief, Veritas took no action to verify that Lohman was

    licensed to practice in Missouri.

           96.     Veritas deceived Plaintiff by failing to advise her that Lohman was unable to give

    her legal advice or otherwise assist in “preparation of all court filings: Answers, motions,

    demands, interrogatories, counterclaims” and “court appearances- until case is closed.”




                                                     11
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 12 of115
                                                                     17 of 120 PageID#
                                                                        PageID  #: 42 2193



            97.    Plaintiff would never have paid for Veritas’s services if she had known that

    Veritas would provide her an attorney who was not licensed to practice in Missouri.

            98.    Defendants’ conduct occurred in connection with the sale of the the Plan to

    Plaintiff.

            99.    Because of the representations, omissions, and actions of Defendants, Plaintiff

    paid for the Plan and, as a result, suffered monetary loss and actual damages in excess of the

    minimum jurisdictional amount of this Court.

            WHEREFORE, Plaintiff respectfully requests that judgment be entered against

    Defendants for:

            A.     Actual damages in an amount greater than the minimum jurisdictional amount of

                   this Court to be determined at trial;

            B.     Punitive damages pursuant to RSMo. § 407.025(1) in the largest amount allowed

                   by law;

            C.     Reasonable attorney’s fees pursuant to RSMo. § 407.025(1); and

            D.     For such other and further relief as the Court deems proper.

                       COUNT II: VIOLATION OF THE CROA - LOHMAN

            100.   Plaintiff incorporates all prior paragraphs as if fully stated herein.

            101.   Lohman’s services were supposed to help Plaintiff deal with her creditors with the

    ultimate goal of repairing her credit in exchange for regular monthly payments from Plaintiff.

            102.   In its attempts to offer credit repair services to Plaintiff, Lohman has committed

    violations of the CROA, 15 U.S.C. § 1679 et seq., including, but not limited to, the following:




                                                     12
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 13 of116
                                                                     17 of 120 PageID#
                                                                        PageID  #: 43 2194



           a.        Making or using an untrue or misleading representation of its services, 15 U.S.C.

    § 1679b(a)(3);

           b.        Engaging, directly or indirectly, in an act, practice, or course of business that

    constitutes or results in the commission of, or an attempt to commit, a fraud or deception on any

    person in connection with the offer or sale of its services, 15 U.S.C. § 1679b(a)(4); and

           c.        Charging any money or other valuable consideration for the performance of a

    service which Lohman has agreed to perform for any consumer before such service is fully

    performed, 15 U.S.C. § 1679b(b).

           WHEREFORE, Plaintiff respectfully requests that judgment be entered against

    Defendants for:

           A.        Judgment that Lohman’s conduct violated the CROA;

           B.        Actual damages;

           C.        Punitive damages pursuant to 15 U.S.C. § 1679g(2);

           D.        Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1679g(3); and

           E.        For such other relief as the Court may deem just and proper.

                  COUNT III: VIOLATION OF THE CSO STATUTES - LOHMAN

           103.      Plaintiff incorporates all prior paragraphs as if fully stated herein.

           104.      Plaintiff is an individual who purchased the services of a credit services

    organization from Lohman.

           105.      Lohman, who functions with respect to the extension of credit by others and in

    return for the payment of money or other valuable consideration, provided or represented to

    Plaintiff that it could or would (1) improve Plaintiff’s credit record, history, or rating, (2) obtain

                                                       13
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 14 of117
                                                                     17 of 120 PageID#
                                                                        PageID  #: 44 2195



    an extension of credit for Plaintiff, or (3) provide advice or assistance to Plaintiff with regard to

    those services.

           106.       In its provision of the services of a credit services organization to Plaintiff,

    Lohman committed violations of the CSO Statutes, RSMo. 407.635 et seq., including, but not

    limited to, the following:

           a.         Charging Plaintiff money or other valuable consideration before completing

    performance of all services Lohman had agreed to perform for Plaintiff, RSMo. § 407.638(1);

    and

           b.         Making and using false and misleading representations to Plaintiff in the offer and

    sale of the services of a credit services organization, RSMo. § 407.638(3).

           WHEREFORE, Plaintiff respectfully requests that judgment be entered against

    Defendants for:

           A.         Judgment that Lohman’s conduct violated the CSO Statutes;

           B.         Actual damages in an amount no less than the amount Plaintiff paid to Lohman

    through Burlington pursuant to 407.644.1(1);

           C.         Punitive damages pursuant to pursuant to 407.644.1(2);

           D.         Costs and reasonable attorney’s fees pursuant to pursuant to 407.644.1(1); and

           E.         For such other relief as the Court may deem just and proper.

                  COUNT IV: UNAUTHORIZED PRACTICE OF LAW - LOHMAN

           107.       Plaintiff incorporates all prior paragraphs as if fully stated herein.




                                                        14
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 15 of118
                                                                     17 of 120 PageID#
                                                                        PageID  #: 45 2196



            108.    Throughout their course of dealing with Plaintiff, Lohman routinely gave advice

    to Plaintiff about how to deal with her creditors, solicited legal representation from Plaintiff, and

    otherwise treated Plaintiff as a client for whom it was providing legal services.

            109.    Lohman provided counsel to Plaintiff to cease paying her creditors and instead

    pay Burlington, and indirectly itself.

            110.    No attorneys at Lohman nor any of its agents that dealt with Plaintiff are, or ever

    were, authorized to practice law in Missouri.

            111.    Lohman acted in a representative capacity on behalf of Plaintiff by preparing

    documents and instruments, and by providing advice and recommendations, that affected the

    secular rights of Plaintiff.

            112.    Lohman advised Plaintiff that its attorneys possessed expertise with the FDCPA,

    among other consumer protection laws, and would apply these laws to validate Plaintiff’s debts

    and stop collection activities directed at Plaintiff.

            113.    Lohman actively sought to pursue TCPA cases for Plaintiff and told her how to

    proceed with these cases.

            114.    Plaintiff paid substantial fees to Burlington, and indirectly to Lohman, for and in

    connection with the counsel they provided.

            115.    Because of the actions of Lohman, Plaintiff suffered monetary loss and actual

    damages in excess of the minimum jurisdictional amount of this Court.

            WHEREFORE, Plaintiff respectfully requests that judgment be entered against Lohman

    for:

            A.      Judgment that Lohman’s conduct constituted the unauthorized practice of law;

                                                       15
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 16 of119
                                                                     17 of 120 PageID#
                                                                        PageID  #: 46 2197



          B.    Actual damages;

          C.    Punitive damages;

          D.    Treble damages pursuant to RSMo. § 484.020(2).

          E.    Costs and reasonable attorney’s fees; and

          F.    For such other relief as the Court may deem just and proper.




                                                16
Case 1:19-cv-00461-LMB-TCB  Document
       Case: 4:19-cv-00457 Doc. #: 1-4 100
                                       Filed:Filed 12/13/19
                                              03/15/19      Page
                                                         Page: 17 of120
                                                                     17 of 120 PageID#
                                                                        PageID  #: 47 2198



                                                 Respectfully submitted,


                                                 ROSS & VOYTAS, LLC


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                                                  Fax: (636) 333-1212

                                                 Attorneys for Plaintiff

                                    CERTIFICATE OF SERVICE

            The undersigned certifies that a copy of the foregoing was served on all counsel of record
    via the Court’s Case.Net system this 7th day of November, 2018 on:



     Parties                                          Counsel

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                                            By: ​/s/ Ethan W. Gee




                                                   17
